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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
PROPERTY OF THE PEOPLE, INC., et al.,              )
                                                   )
               Plaintiffs,                         )
                                                   )
        v.                                         )       Civil Action No. 17-1193 (JEB)
                                                   )
DEPARTMENT OF JUSTICE,                             )
                                                   )
               Defendant.                          )
---------------)

                   FIFTH DECLARATION OF MICHAEL G. SEIDEL'

       I, Michael G. Seidel, declare as follows:

       (I)    I am the Section Chief of the Record/Information Dissemination Section

("RIDS"), Information Management Division ("!MD"), Federal Bureau oflnvestigation

("FBI"), Winchester, Virginia. This declaration is the seventh overall and my fifth declaration

in this case. It incorporates my previous declaration of October 6, 2020 at ECF No. 55-2,

explaining my employment history and responsibilities at the FBI (hereinafter "First Seidel

Declaration"), the Declaration of David M. Hardy dated November 15, 2017 at ECF No. 12

(hereinafter "First Hardy Declaration"), the Second Declaration of David M. Hardy dated

January 29, 2018 at ECF No. 18 (hereinafter "Second Hardy Declaration"), the Second

Declaration of Michael G. Seidel dated November 18, 2020 at ECF No. 59 (hereinafter "Second

Seidel Declaration"), the Third Declaration of Michael G. Seidel dated September 23, 2021, and

the Fourth Declaration of Michael G. Seidel dated December 1, 2021 at ECF No. 72 (hereinafter

"Fourth Seidel Declaration"). The background of this matter is set forth in these prior


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 This is the seventh declaration in this litigation. The Third Seidel Declaration was signed
September 23, 2021 by Mr. Seidel and provided to Plaintiff for negotiation purposes. The Third
Seidel Declaration was not filed with the court.
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declarations and will not be fully recounted here. Only information directly relevant to this

declaration has been repeated or referenced.

       (2)    The FBI submits this declaration to respond to the segregability issues raised in

Plaintiffs Cross Motion for Sununary Judgment (hereinafter "Cross Motion"), at ECF No. 75,

and to submit an index to further describe the exempt records withheld from two informant files

numbered 137-22152 and 137-NY-19967.

       (3)    Plaintiff contends in its Cross Motion that the FBI has failed to provide enough

detail regarding the records it withheld from the informant files pursuant to Exemptions 7(D)

and 7(E), regarding both segregability and the exemptions it asserted. To provide further

description of the withheld records, the FBI is including an index at Exhibit A to provide more

specific document descriptions, the exemptions asserted on those documents, and a document-

by-document segregability harm analysis.

                        WITHHOLDINGS IN FULL OF RECORDS
                       FILE NUMBERS 137-22152 and 137-NY-19967

        (4)   With regard to Plaintiffs' challenges to the FBI's withholding of records pursuant

to Exemptions 7(D) and 7(E), the FBI has reviewed its withholdings and determined that a

categorical treatment of the records at issue is still appropriate. The FBl's index provides more

detail regarding the document-by-document review discussed in the First Seidel Declaration, ,i,i

152-165, and the Fourth Seidel Declaration, ,i,i 3-4. Release of any of the documents at issue

would cause harm under Exemption 7(D), as described in previous declarations, because the

documents would reveal the identities of confidential human source(s) ("CHSs"), information

provided by those sources, and would violate the FBI's express promises of confidentiality to its

sources. Release of these records would also cause harm under Exemption 7(E), as it would

disclose non-public techniques, aspects, and strategies employed by the FBI in the handling of


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its CHS program, which is an invaluable law enforcement tool. Additionally, although the FBI

has not disclosed any of the dates of the source files at issue, Plaintiffs claim that "at least some

of the records are at least four decades old." See Cross Motion at 9. Even if the records within

the source files were as old as Plaintiffs claim, the same or similar techniques and procedures

that the FBI has employed for decades with regard to its CHS program, including its suitability

and vetting processes, remain in effect today. Thus, regardless of the document date within the

source files at issue, release of information the FBI considers exempt pursuant to Exemption

7(E) would harm the FBI's current CHS program.

                                   SEGREGABILITY HARM

        ( 5)   In its Cross Motion, Plaintiffs claim that "non-exempt information can be readily

segregated in this case because the documents consists [sic] of discrete logical groupings, rather

than information spread throughout a lengthy narrative." However, non-exempt information

cannot, in fact, be readily segregated from source-related documents such as those indexed into

the source files at issue in this case. The two source files at issue pertain to confidential sources

with whom the FBI has an express agreement of confidentiality. When the FBI enters into a

relationship with a confidential source, it agrees to uphold its obligations to that source,

including its primary responsibility to keep all documents and information related to the source

strictly secret. The FBI cannot violate this confidentiality agreement with regard to any non-

public source-related documents or it risks the integrity of its entire CHS program. Were the

FBI to release any of the source documents located within the two files at issue, it would

discourage current and future sources from sharing essential information with the FBI and

tarnish the trust in its promises of confidentiality. Thus, the FBI cannot segregate for release any




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of the information contained in the informant file that was provided by a confidential informant

file or that would function to identify the confidential source.

       (6)    Additionally, segregating any of the documents at issue would cause numerous

harms to the sources discussed within the records. First, segregating the records within these

source files would reveal the specific volume of each source file. While the FBI has made

limited disclosures regarding the number of document types within the files, it has not disclosed

how many documents pertain to each specific source file, and it considers that information

exempt pursuant to Exemption 7(D). Disclosure of the volume of these source records, whether

through segregation or otherwise, would indicate the extent to which a source with express

confidentiality cooperated with or provided information to the FBI. For example, if source A

supplied 1000 pages of information to the FBI and source B supplied I 0, this could be an

indication of the level of involvement or access of each source. Coupled with identification of

the specific types of files on which the source reported, locations, dates, and times, this

information would provide another level of detail that would allow a requester to deduce the

 identity of the source. Such a disclosure of the volume would be directly counter to the FBI's

 express promises of confidentiality that were extended in reference to all the source documents

 at issue. Second, the volume of the records notwithstanding, the most the FBI could segregate

 from the records at issue would be headings of standard forms, which are not substantive and

 would not reveal anything of use to Plaintiff about the responsive records. All other substantive

 portions of the source records contain details as to dates, amount of information provided by a

 source, and specific locations that may seem relatively harmless at first blush but taken together

 would give significant details about the extent of the information the source provided, the dates

 and extent of source activity, and the geographic location about which the source reported. This



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would provide details about source associations and focus that, if released, would harm both the

individual source and the CHS program. The FBI cannot segregate these source documents to

reveal any substantive information without violating its promise of confidentiality to the source,

and potentially revealing the identity and focus of the source.

          (7)   Plaintiff argues in its Cross Motion that because the FBI has segregated similar

document types in its productions in the past, those documents should be segregated in this

case. The FBI's segregability determinations, however, are dependent on context and

circumstance, and cannot be applied in the context of source records as they might with regard

to criminal case files. In its index, the FBI has further distinguished each document as a general

investigative form type or a form type specific to source files. In preparing its index, the FBI

has conducted another line by line, page by page review of each of the substantive contents of

the documents, to include both investigative and source file types, and determined that if the

documents were to be segregated, the records would show only disjointed words, phrases, or

sentences which taken separately or together have minimal or no informational content. The

harms of disclosure as well as the FBl's segregability review are discussed by document type

 below.

                      GENERAL INVESTIGATIVE/ADMINISTRATIVE FORM TYPES

          (8)   The first type of record located within the source documents at issue are general

 investigative and administrative form types. These are document types that would be found in

 numerous types of FBI files, including most criminal investigative files. This category includes

 multiple forms, including FD-5, FD-36, FD-159, FD-160, FD-165, FD-302, FD-340a, FD-350,

 FD-536, 0-7, Electronic Communications ("ECs"), and Letterhead Memorandums ("LHMs").

 The FBI has included a document-by-document segregability harm analysis in its index to



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justify the FBI' s continued withholding of all source documents within the two files at issue.

The specific form types are discussed below.

              a)      FD-5: These Serial Charge Out forms in the records at issue pertain to

                      source file serials that were removed from the case file. All the fields on

                      the form, including the date, serial number, description, employee, and

                      location information would give details as to the volume of the file, source

                      location and activities, and would reveal the dates the source was open and

                      active. These documents, although administrative, could give crucial

                      details about a source's identity and therefore the FBI determined that no

                      substantial information is segregable.

               b)     FD-36: These forms are Field Airtels in the records at issue that document

                      communications pertaining to and provided by the source in addition to

                      documenting handling and vetting details. None of these source details

                       are segregable, and all routing information in an airtel to include location,

                       subject, priority, date, and other pertinent information would reveal the

                       focus and activities of a source. The FBI has determined that these

                       records are not segregable without significant harm to the source.

               c)      FD-159: These forms are titled Record oflnformation Furnished Other

                       Agencies. As in the forms described above, information to include dates,

                       topic of information, the agency mentioned in the record, serial numbers,

                       and any routing information would reveal source activities, focus, and

                       scope. These form types are not segregable to include any substantive

                       information.



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     d)    FD-160: These forms are Indices Search Slips and in the context of these

           source records typically contain index checks for suitability and vetting

           purposes. The fields of this document would reveal source identity,

           source activity dates, what information the FBI is searching for with

           regard to a specific source, and the results of that search which would

           indicate the background of that particular source. Thus, the FBI has

           determined that no substantive information from these forms can be

           released without revealing source identity and details.

     e)    FD-165: These forms are FBI Field Office Wanted-Flash-Cancellation

           Notices that contain identifying information regarding the source within in

           the records. In addition, the administrative information listed within the

           form, as above, would reveal focus and activity of the source as well as

           details pertaining to the source vetting process.

     f)    FD-302: These forms are Interview Forms that memorialize source

           interviews regarding both source vetting and specific investigative

           interests. Disclosure of any part of these interviews would disclose the

           identity of the source as well as the information the source provided.

           Disclosure of the administrative information, to include date, location, and

           handling agents would point to the source's identity, focus, and scope, and

           thus the FBI has determined these source interviews are not segregable.

      g)    FD-3 40a: These forms are I A Envelopes that are used to enclose

            documents pertaining to or provided by the source. Any details of these

            documents beyond the generic descriptions offered in the index would



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           reveal information provided by the source or the source's identity. The

           harms enumerated above also apply to administrative portions of the form

           such as the date received, description, name of contributor, and any other

           routing information. Release of these fields could reveal source identity,

           scope and subject of contribution, and location.

     h)    FD-350: This form pertains to an enclosure to a routing slip regarding the

           activities and associations of the source. No information is segregable

           from this document without revealing source associations.

     i)    FD-536: These are forms are FSA Blue Slips, which are vouchers for

           payments and/or expenses regarding the source. Much of this form

           implicates the identity of the source and activities, listing out amounts and

           reasons for payment, and also contains administrative information such as

           dates and routing information that would reveal the scope and timeframe

           of source cooperation with the FBI.

      j)   0-7: These forms are Routing Slips that indicate where records were sent

           within the FBI. Not only do these slips often contain specific source-

           identifying information, but the administrative information would be

           revealing of the contents of the source records. For instance, the Remarks

            section gives detail about the enclosure to the routing slip, which pertains

            to source activity. Additionally, revealing the date and field office that

            records were sent to would reveal the scope and focus of source reporting

            and activity.




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              k)     LHMs and ECs: LHMs and ECs are described on a document-by-

                     document basis in the FBI' s index. In general, the LHMs and ECs within

                     the source records at issue pertain to source reporting, vetting, and

                     administrative handling. As with the rest of the source documents, these

                     types of records are often identifying to the source, and contain

                     administrative information that would reveal source activities, focus, and

                     the scope of the source's cooperation with the FBI.

                            FORM TYPES SPECIFIC TO SOURCE FILES

       (9)    The second type of record located within the source documents at issue are form

types that are specific to source files. These are document types that would not typically be

found in general investigative or administrative files and are unique to the FBI's source files

and CHS program. This category includes forms FD-209 and FD-22la, as addressed in

Plaintiffs Cross Motion. As these document types are source-specific, they are even less likely

to be segregable than investigative form types, as these form types not only reveal source-

identifying information, but also specifically lay out the FBI's source handling procedures and

criteria. Release of this type of information would point to the strategies and procedures the

FBI uses in its CHS program, which would expose the vulnerabilities and reduce the efficacy of

the program. As previously noted, the FBI has included a document-by-document segregability

harm analysis in its index to justify the FBI's continued withholding of all source documents

within the two files at issue. The rationale above applies to not only the two document types

that Plaintiff raised, but also in the other source-specific document types denoted on the index.

The specific source file form types Plaintiff raised are discussed below.




                                                 9
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                a)    FD-209: These are Memoranda for Recording Contact with Informants,

                      which are documents designed to record and determine the credibility of

                      information provided by sources. Each field of information on this form is

                      designed for a source-specific purpose, and any information provided by

                      the source or administrative information documented on the form would

                       reveal the source's identity, focus, associations, and value to the FBI.

                b)     FD-221 a: These are Expense Reports that denote payments to sources

                       regarding specific investigative interests. As in the form above, this

                       document is specifically designed to record payments to a confidential

                       source. Any segregation of this type of record would reveal the identity of

                       the source, source activities, source focus, as well as confidential details

                       regarding payment, which would negatively impact both the individual

                       source as well as the entire CHS program by disclosing the FBI's areas of

                       monetary focus.

                                          CONCLUSION

       ( I 0)   After additional, extensive review of the records at issue, the FBI determined that

all information in the source documents at issue are exempt pursuant to Exemptions 7(0) and

7(E), along with underlying exemptions, and no information can be reasonably segregated and

released without revealing exempt information.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct, and that ExhibitJA is a true and correct copy.

                       Z Y.
       Executed this _ _ _ day of March 2022.




                                                       Section Chief
                                                       Record/Information Dissemination Section
                                                       Information Management Division
                                                       Federal Bureau oflnvestigation
                                                       Winchester, VA




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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                         )
PROPERTY OF THE PEOPLE, INC. ET AL.,     )
                                         )
      Plaintiffs,                        )
                                         )
                    v.                   ) Civ. A. No. 1:17-cv-01193-JEB
                                         )
DEPARTMENT OF JUSTICE,                   )
                                         )
     Defendant.                          )
                                         )




                                Exhibit A
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                    Property of the People, et al., v. DOJ, Civ. A. No.: 17-cv-01193 (DDC)

                                               Vaughn Index

              SUMMARY OF FOIA EXEMPTION JUSTIFICATION CATEGORIES


CODED CATEGORIES                                         INFORMATION WITHELD

  EXEMPTION (b)(3)                                INFORMATION PROTECTED BY STATUE

         (b)(3)-1                     Grand Jury Information - Federal Rules of Criminal Procedure, Rule 6(e)
         (b)(3)-3                 18 U.S.C §§ 2510-20 (Title III of the OmnibusCrime Control and Safe Streets Act)
         (b)(3)-4                           National Security Act of 1947 - 50 U.S.C. Section 3024(i)(1)

 EXEMPTION (b)(6) and             CLEARLY UNWARRANTED INVASION OF PERSONAL PRIVACY AND
 EXEMPTION (b)(7)(C)                   UNWARRANTED INVASION OF PERSONAL PRIVACY

 (b)(6)-1 and (b)(7)(C)-1          Names and/or Identifying Information of FBI Special Agents/Professional Staff
 (b)(6)-2 and (b)(7)(C)-2           Names and/or Identifying Information of Third Parties of Investigative Interest
 (b)(6)-3 and (b)(7)(C)-3            Names and/or Identifying Information of Local Law Enforcement Personnel
 (b)(6)-4 and (b)(7)(C)-4         Names and/or Identifying Information of Non-FBI Federal Government Personnel
 (b)(6)-5 and (b)(7)(C)-5         Names and/or Identifying Information of Third Parties Who Provided Information
 (b)(6)-6 and (b)(7)(C)-6             Names and/or Identifying Information of Third Parties Merely Mentioned
 EXEMPTION (b)(7)(D)                              CONFIDENTIAL SOURCE INFORMATION
       (b)(7)(D)-4                                      Confidential Source Symbol Numbers
       (b)(7)(D)-5                                        Confidential Source File Numbers
                                Names, Identifying Information, and/or Information Provided by Individuals Under an
       (b)(7)(D)-6
                                                        Express Assurnce of Confidentiality
 EXEMPTION (b)(7)(E)                        INVESTIGATIVE TECHNIQUES AND PROCEDURES
       (b)(7)(E)-2                                             Surveillance Techniques
       (b)(7)(E)-5               Operational Directives Concerning Sensitive Investigative Techniques and Strategies
      (b)(7)(E)-10                                     Source Reporting Documents - FD-209s
      (b)(7)(E)-11                                                Source Suitability
      (b)(7)(E)-12                                               Monetary Payments
      (b)(7)(E)-13                                                   Search Slips
      (b)(7)(E)-14                                        Information Related to Polygraphs
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                            EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE         Form #        OGA Info                 DESCRIPTION                     APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                                        Records specific to source files.
                                                                                                                                        Disclosure would cause harm to
                                                                                                                                        the source program by disclosing
                                                                                                                                        specific details about source
                                                                                 Expense log for specific source                        expenses and how the FBI
  Administrative Materials      Expense Log                                      symbol numbered file                     b7D‐5         handles and manages its sources.

                                                                                                                                        Records specific to source files.
                                                                                                                                        Disclosure would cause harm to
                                                                                                                                        the source and the source
                                                                                 Informant review checklist specific to                 program by disclosing the
                                                                                 a source symbol numbered               b6/b7C‐1        contents of the source file and
  Administrative Materials    Informant Review        FD‐237                     informant                              b7D‐4,‐5        the actions of this specific source.
                                                                                                                                        Records specific to source files.
                                                                                                                                        Disclosure would cause harm to
                                                                                                                                        the source and the source
                                                                                                                                        program by disclosing the
                                                                                                                                        contents of the source file and
                                                                                 Log of supervisor's file reviews for                   the actions and length of activity
  Administrative Materials    Informant Review        FD‐675                     specific source numbered informant b7E‐5               of this specific source.
                                                                                                                                        General investigative record.
                                                                                                                                        Disclosure of any details of this
                                                                                 Background and identifying info on a                   record would harm the individual
  Evidentiary/Investigative                                                      symbol numbered informant in a       b6/b7C‐1,‐5       source by revealing source
         Materials                 Airtel              FD‐36                     position to furnish specific info    b7D‐4,‐5,‐6       identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                    EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE        Form #    OGA Info               DESCRIPTION                    APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                                  General investigative record.
                                                                          handling/vetting of source; Indices                     Disclosure of any details of this
      Administrative &                                                    Search Slip with specific investigative b6/b7C‐1,‐5     record would harm the individual
  Evidentiary/Investigative                                               file numbers and personal               b7D‐5,‐6        source by revealing source
         Materials             Indices Search Slip   FD‐160               identifying info                        b7E‐13          identity and activities.

                                                                                                                                  General investigative record.
                                                                                                                                  Disclosure of any details of this
                                                                          Background and identifying info on a                    record would harm the individual
  Evidentiary/Investigative                                               symbol numbered informant in a       b6/b7C‐1,‐5        source by revealing source
         Materials                   Airtel                               position to furnish specific info    b7D‐4,‐5,‐6        identity and activities.

                                                                                                                                  General administrative record.
                                                                                                                                  Disclosure of any details of this
                                                                                                                                  record would harm the individual
                                                                          1A log describing date of contact                       source by revealing source
  Administrative Materials     1A Envelope/Log       FD‐340a              with source                           b7D‐5             identity and activities.

                                                                                                                                  General administrative record.
                                                                                                                                  Disclosure of any details of this
                                                                                                                                  record would harm the individual
                                                                          1A Envelope describing date of        b6/b7C‐1          source by revealing source
  Administrative Materials        1A Envelope        FD‐340               contact with source                   b7D‐5             identity and activities.

                                                                                                                                  General investigative record.
                                                                                                                                  Disclosure of any details of this
      Administrative &                                                                                                            record would harm the individual
  Evidentiary/Investigative                                               Agent's handwritten notes from        b6/b7C‐2,‐5       source by revealing source
         Materials            Handwritten Notes                           interview/contact with source         b7D‐5,‐6          identity and activities.

                                                                                                                                  General investigative record.
                                                                                                                                  Disclosure of any details of this
      Administrative &                                                                                                            record would harm the individual
  Evidentiary/Investigative                                                                                     b6/b7C‐1,‐2,‐5,‐6 source by revealing source
         Materials            Source Provided Info    FD‐71               Source provided info                  b7D‐5,‐6          identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE      Form #   OGA Info               DESCRIPTION                  APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
                                                                       handling/vetting of source; Indices b6/b7C‐1‐5      record would harm the individual
                                                                       Search Slip with specific investigative b7D‐5       source by revealing source
  Administrative Materials      Indices Search     FD‐160              file numbers and identifying info       b7E‐13      identity and activities.
                                                                                                                           Records specific to source files.
                                                                                                                           Disclosure would cause harm to
                                                                                                                           the source and the program by
      Administrative &        Memo for Recording                                                            b6/b7C‐1,‐5    disclosing the contents of the
  Evidentiary/Investigative     Contact with                           source contact re specific           b7D‐5,‐6       source file and the actions of this
         Materials               Informant         FD‐209              investigative interest               b7E‐10         specific source.

                                                                                                                           Records specific to source files.
                                                                                                                           Disclosure would cause harm to
                                                                                                                           the source and the program by
      Administrative &        Memo for Recording                                                            b6/b7C‐1,‐5    disclosing the contents of the
  Evidentiary/Investigative     Contact with                           source contact re specific           b7D‐5,‐6       source file and the actions of this
         Materials               Informant         FD‐209              investigative interest               b7E‐10         specific source.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                       vetting/background investigation of a               record would harm the individual
                                                                       source; identifying info on several   b6/b7C‐1,‐5   source by revealing source
  Administrative Materials          Memo                               source symbol numbered informants b7D‐4,‐5,‐6       identity and activities.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                       source contact/background            b6/b7C‐1,‐5    source by revealing source
  Administrative Materials          Memo                               investigation                        b7D‐5,‐6       identity and activities.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                                                            b6/b7C‐1,‐5    source by revealing source
  Administrative Materials       Misc. Admin                           Consolidation of source file no's    b7D‐5,‐6       identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                  EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE      Form #   OGA Info               DESCRIPTION                     APPLIED    SEGREGABILITY HARM ANALYSIS


                                                                                                                              General administrative record.
                                                                                                                              Serial charge outs often indicate
                                                                                                                              that serials have been removed
                                                                                                                              or moved from a file, and
                                                                                                                              disclosure would indicate source
  Administrative Materials    Serial Charge Out     FD‐5               Serial transferred from source file     b7D‐5          activities, focus, and associations.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                                                                              record would harm the individual
                                                                                                               b6/b7C‐1       source by revealing source
  Administrative Materials         Memo                                Consolidation of source files           b7D‐4,‐5,‐6    identity and activities.


                                                                                                                              General administrative record.
                                                                                                                              Serial charge outs often indicate
                                                                                                                              that serials have been removed
                                                                                                                              or moved from a file, and
                                                                                                                              disclosure would indicate source
  Administrative Materials    Serial Charge Out     FD‐5               Serial transferred from source file     b7D‐5          activities, focus, and associations.

                                                                                                                              General investigative record.
                                                                                                                              Disclosure of any details of this
      Administrative &                                                                                                        record would harm the individual
  Evidentiary/Investigative                                            Source reporting on specific            b6/b7C‐1       source by revealing source
         Materials                 Memo                                investigative interest                  b7D‐4,‐5,‐6    identity and activities.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                       Identification notice re fingerprints                  record would harm the individual
                                FBI Field Office                       on source; contains identifying info    b6/b7C‐5       source by revealing source
  Administrative Materials    Fingerprint Notice   FD‐165              on source                               b7D‐5,‐6       identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                  EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE      Form #   OGA Info               DESCRIPTION                     APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                                                                              record would harm the individual
                                                                       contact with source symbol              b6,b7C‐1       source by revealing source
  Administrative Materials         Memo                                numbered informant                      b7D‐4,‐5,‐6    identity and activities.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                       Identification notice re fingerprints                  record would harm the individual
                                FBI Field Office                       on source; contains identifying info    b6/b7C ‐1,‐5   source by revealing source
  Administrative Materials    Fingerprint Notice   FD‐165              on source                               b7D‐5,‐6       identity and activities.


                                                                                                                              General administrative record.
                                                                                                                              Serial charge outs often indicate
                                                                                                                              that serials have been removed
                                                                                                                              or moved from a file, and
                                                                                                                              disclosure would indicate source
  Administrative Materials    Serial Charge Out     FD‐5               Serial transferred from source file     b7D‐5          activities, focus, and associations.

                                                                                                                              Records specific to source files.
                                                                                                                              Disclosure would cause harm to
                                                                                                                              the source and the program by
                                                                                                                              disclosing the contents of the
                                                                                                               b6,b7C‐1       source file and the actions of this
  Administrative Materials         Memo                                handling/rating of source               b7D‐4,‐5,‐6    specific source.

                                                                                                                              General investigative record.
                                                                                                                              Disclosure of any details of this
      Administrative &                                                                                                        record would harm the individual
  Evidentiary/Investigative                                            Summary of source provided info re b6/b7C‐2            source by revealing source
         Materials                 Memo                                specific investigative matters     b7D‐4,‐5,‐6         identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                            General administrative record.
                                                                                                                            Disclosure of any details of this
                                                                                                                            record would harm the individual
                                                                      Reassignment of agent for handling     b6/b7C‐1       source by revealing source
  Administrative Materials         Memo                               of source                              b7D‐4,‐5       identity and activities.

                                                                                                                            General administrative record.
                                                                                                                            Serial charge outs often indicate
                                                                                                                            that serials have been removed
                                                                                                                            or moved from a file, and
                                                                                                                            disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serials transferred from source file   b7D‐5          activities, focus, and associations.

                                                                                                                            General investigative record.
                                                                                                                            Disclosure of any details of this
      Administrative &                                                                                                      record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C‐2           source by revealing source
         Materials                 Memo                               specific investigative matters     b7D‐4,‐5,‐6        identity and activities.


                                                                                                                            General administrative record.
                                                                                                                            Serial charge outs often indicate
                                                                                                                            that serials have been removed
                                                                                                                            or moved from a file, and
                                                                                                                            disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serials transferred from source file   b7D‐5          activities, focus, and associations.

                                                                                                                            General investigative record.
                                                                                                                            Disclosure of any details of this
      Administrative &                                                                                                      record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C‐2           source by revealing source
         Materials                 Memo                               specific investigative matters     b7D‐4,‐5,‐6        identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                 EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                     APPLIED    SEGREGABILITY HARM ANALYSIS


                                                                                                                             General administrative record.
                                                                                                                             Serial charge outs often indicate
                                                                                                                             that serials have been removed
                                                                                                                             or moved from a file, and
                                                                                                                             disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serials transferred from source file    b7D‐5          activities, focus, and associations.
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C‐1,‐2         source by revealing source
         Materials                 Airtel                             specific investigative interest    b7D‐5               identity and activities.

                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C‐2            source by revealing source
         Materials                 Memo                               specific investigative matters     b7D‐4,‐5,‐6         identity and activities.

                                                                                                                             General administrative record.
                                                                                                                             Serial charge outs often indicate
                                                                                                                             that serials have been removed
                                                                                                                             or moved from a file, and
                                                                                                                             disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serials transferred from file           b7D‐5          activities, focus, and associations.

                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                           Summary of contact with source;         b6/b7C‐2       source by revealing source
         Materials                 Memo                               info re specific investigative matter   b7D‐4,‐5,‐6    identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                            General administrative record.
                                                                                                                            Disclosure of any details of this
                                                                                                                            record would harm the individual
                                                                      handling of source; status of source   b6/b7C‐1,‐2    source by revealing source
  Administrative Materials         Memo                               reporting                              b7D‐5,‐6       identity and activities.


                                                                                                                            General administrative record.
                                                                                                                            Serial charge outs often indicate
                                                                                                                            that serials have been removed
                                                                                                                            or moved from a file, and
                                                                                                                            disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serial transferred from file           b7D‐5          activities, focus, and associations.


                                                                                                                            General administrative record.
                                                                                                                            Serial charge outs often indicate
                                                                                                                            that serials have been removed
                                                                                                                            or moved from a file, and
                                                                                                             b6/b7C‐1       disclosure would indicate source
  Administrative Materials         Memo                               Serial transferred from file           b7D‐4,‐5       activities, focus, and associations.
                                                                                                                            Records specific to source files.
                                                                                                                            Disclosure would cause harm to
                                                                                                                            the source and the program by
                             Memo for Recording                                                              b6/b7C‐1       disclosing the contents of the
                               Contact with                                                                  b7D‐4,‐5,‐6    source file and the actions of this
  Administrative Materials      Informants        FD‐209              Contact with source                    b7E‐10         specific source.
                                                                                                                            Records specific to source files.
                                                                                                                            Disclosure would cause harm to
                                                                                                                            the source and the program by
                             Memo for Recording                                                              b6/b7C‐1       disclosing the contents of the
                               Contact with                                                                  b7D‐4,‐5,‐6    source file and the actions of this
  Administrative Materials      Informants        FD‐209              Contact with source                    b7E‐10         specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                 APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C‐2          source by revealing source
         Materials                 Memo                               specific investigative matters     b7D‐4,‐5,‐6       identity and activities.


                                                                                                                           General administrative record.
                                                                                                                           Serial charge outs often indicate
                                                                                                                           that serials have been removed
                                                                                                                           or moved from a file, and
                                                                                                                           disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serial transferred from file        b7D‐5            activities, focus, and associations.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                           handwritten notes of contact with   b6/b7C‐1,‐2,‐6   source by revealing source
         Materials            Handwritten Memo                        source; Source Reporting            b7D‐4,‐5,‐6      identity and activities.
                                                                                                                           Records specific to source files.
                                                                                                                           Disclosure would cause harm to
                                                                                                                           the source and the program by
                                                                                                                           disclosing the contents of the
                                                                      handling/evaluation of source and   b6/b7C‐1         source file and the actions of this
  Administrative Materials         Memo                               info provided                       b7D‐4,‐5         specific source.


                                                                                                                           General administrative record.
                                                                                                                           Serial charge outs often indicate
                                                                                                                           that serials have been removed
                                                                                                                           or moved from a file, and
                                                                                                                           disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serials transferred from file       b7D‐5            activities, focus, and associations.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                 APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                                                                         record would harm the individual
                                                                      handling/evaluation of source and   b6/b7C‐1       source by revealing source
  Administrative Materials         Memo                               info provided                       b7D‐5          identity and activities.
                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                                   record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C‐2        source by revealing source
         Materials                 Memo                               specific investigative matters     b7D‐4,‐5,‐6     identity and activities.


                                                                                                                         General administrative record.
                                                                                                                         Serial charge outs often indicate
                                                                                                                         that serials have been removed
                                                                                                                         or moved from a file, and
                                                                                                                         disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serials transferred from file       b7D‐5          activities, focus, and associations.
                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                                   record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C‐2        source by revealing source
         Materials                 Memo                               specific investigative matters     b7D‐4,‐5,‐6     identity and activities.
                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                                                                         record would harm the individual
                                                                                                          b6/b7C‐1       source by revealing source
  Administrative Materials         Memo                               handling/evaluation of source       b7D‐4,‐5       identity and activities.

                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                                   record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C‐2,‐6     source by revealing source
         Materials                 Memo                               specific investigative matters     b7D‐4,‐5,‐6     identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                 EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                     APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                                                                                                                             source by revealing source
  Administrative Materials        Memo                                handling of source                      b7D‐4,‐5,‐6    identity and activities.


                                                                                                                             General administrative record.
                                                                                                                             Serial charge outs often indicate
                                                                                                                             that serials have been removed
                                                                                                                             or moved from a file, and
                                                                                                                             disclosure would indicate source
  Administrative Materials   Serial Charge Out     FD‐5               Serials transferred from file           b7D‐5          activities, focus, and associations.

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                      Identification notice re fingerprints                  record would harm the individual
                               FBI Field Office                       on source; contains identifying info    b6/b7C‐5       source by revealing source
  Administrative Materials   Fingerprint Notice   FD‐165              on source                               b7D‐5          identity and activities.

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                                                                                                              b6/b7C‐1       source by revealing source
  Administrative Materials        Memo                                handling/status of source               b7D‐4,‐5,‐6    identity and activities.


                                                                                                                             General administrative record.
                                                                                                                             Serial charge outs often indicate
                                                                                                                             that serials have been removed
                                                                                                                             or moved from a file, and
                                                                                                                             disclosure would indicate source
  Administrative Materials   Serial Charge Out     FD‐5               Serial transferred from file            b7D‐5          activities, focus, and associations.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                            EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                        General administrative record.
                                                                                                                        Disclosure of any details of this
                                                                                                                        record would harm the individual
                                                                                                         b6/b7C‐1       source by revealing source
  Administrative Materials         Memo                               handling/progress of source        b7D‐5          identity and activities.


                                                                                                                        General administrative record.
                                                                                                                        Serial charge outs often indicate
                                                                                                                        that serials have been removed
                                                                                                                        or moved from a file, and
                                                                                                                        disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serial transferred from file       b7D‐5          activities, focus, and associations.

                                                                                                                        General investigative record.
                                                                                                                        Disclosure of any details of this
      Administrative &                                                                                                  record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C ‐2      source by revealing source
         Materials                 Memo                               specific investigative matters     b7D‐4,‐5,‐6    identity and activities.


                                                                                                                        General administrative record.
                                                                                                                        Serial charge outs often indicate
                                                                                                                        that serials have been removed
                                                                                                                        or moved from a file, and
                                                                                                                        disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serials transferred from file      b7D‐5          activities, focus, and associations.

                                                                                                                        General investigative record.
                                                                                                                        Disclosure of any details of this
      Administrative &                                                Summary of source provided info re                record would harm the individual
  Evidentiary/Investigative                                           specific investigative matters;    b6/b7C‐1,‐2    source by revealing source
         Materials                 Memo                               payment to source                  b7D‐4,‐5,‐6    identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #    OGA Info               DESCRIPTION                 APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
                                                                                                                          the informant program by
                                                                                                                          disclosing specific details about
      Administrative &                                                 contact with source; source payment                source expenses and activities
  Evidentiary/Investigative                                            for info re specific investigative  b6/b7C‐1,‐2    and how the FBI handles and
         Materials            Expense Report      FD‐221a              interest                            b7D‐4,‐5       manages its sources.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                            documentation re contact with      b6/b7C‐1        source by revealing source
         Materials                 Memo                                source and source payment          b7D‐4,‐5        identity and activities.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                            Summary of source provided info re b6/b7C‐2        source by revealing source
         Materials                 Memo                                specific investigative matters     b7D‐4,‐5,‐6     identity and activities.


                                                                                                                          General administrative record.
                                                                                                                          Serial charge outs often indicate
                                                                                                                          that serials have been removed
                                                                                                                          or moved from a file, and
                                                                                                                          disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5                Serial transferred from file       b7D‐5           activities, focus, and associations.

                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
                                                                                                                          the informant program by
                                                                                                                          disclosing specific details about
      Administrative &                                                                                                    source expenses and activities
  Evidentiary/Investigative                                            payment to source re specific      b6/b7C‐1,‐2     and how the FBI handles and
         Materials            Expense Report      FD‐221a              investigative interest             b7D‐4,‐5        manages its sources.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                            EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                APPLIED    SEGREGABILITY HARM ANALYSIS


                                                                                                                        General administrative record.
                                                                                                                        Serial charge outs often indicate
                                                                                                                        that serials have been removed
                                                                                                                        or moved from a file, and
                                                                                                                        disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serials transferred from file      b7D‐5          activities, focus, and associations.

                                                                                                                        General administrative record.
                                                                                                                        Disclosure of any details of this
                                                                                                                        record would harm the individual
                                                                                                                        source by revealing source
  Administrative Materials        Teletype        FD‐36               contact/handling of source         b7D‐4,‐5       identity and activities.

                                                                                                                        General administrative record.
                                                                                                                        Disclosure of any details of this
                                                                                                                        record would harm the individual
                                                                                                                        source by revealing source
  Administrative Materials         Memo                               contact/handling of source         b7D‐4,‐5       identity and activities.


                                                                                                                        General administrative record.
                                                                                                                        Serial charge outs often indicate
                                                                                                                        that serials have been removed
                                                                                                                        or moved from a file, and
                                                                                                                        disclosure would indicate source
  Administrative Materials    Serial Charge Out    FD‐5               Serials transferred from file      b7D‐5          activities, focus, and associations.

                                                                                                                        General investigative record.
                                                                                                                        Disclosure of any details of this
      Administrative &                                                                                                  record would harm the individual
  Evidentiary/Investigative                                           Summary of source provided info re b6/b7C‐1,‐5    source by revealing source
         Materials                Teletype        FD‐36               specific investigative matters     b7D‐4,‐5,‐6    identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                  EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE       Form #   OGA Info               DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                              General investigative record.
                                                                                                                              Disclosure of any details of this
      Administrative &                                                                                                        record would harm the individual
  Evidentiary/Investigative                                             identifying info of source; handling of b6/b7C‐1,‐5   source by revealing source
         Materials                  Memo            Memo                source; source reporting                b7D‐4,‐5,‐6   identity and activities.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                                                                              record would harm the individual
                                                                        handling of source; assignment of     b6/b7C‐1,‐5     source by revealing source
  Administrative Materials          Memo                                code name to source                   b7D‐4,‐5,‐6     identity and activities.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                                                              b6/b7C‐1,‐5     record would harm the individual
                                                                        vetting/handling of source; Indices   b7D‐6           source by revealing source
  Administrative Materials    Indices Search Slip   FD‐160              Search Slip                           b7E‐13          identity and activities.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                                                              b6/b7C‐1,‐5     record would harm the individual
                                                                        vetting/handling of source; Indices   b7D‐6           source by revealing source
  Administrative Materials    Indices Search Slip   FD‐160              Search Slip                           b7E‐13          identity and activities.

                                                                                                                              General investigative record.
                                                                                                                              Disclosure of any details of this
      Administrative &                                                                                                        record would harm the individual
  Evidentiary/Investigative                                             Summary of source provided info re b6/b7C‐1,‐2        source by revealing source
         Materials                  Memo                                specific investigative matters     b7D‐4,‐5,‐6        identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                            EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION                   APPLIED     SEGREGABILITY HARM ANALYSIS


                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                                                                         record would harm the individual
                                                                                                                         source by revealing source
                                                                                                          b6/b7C‐1       identity and activities and would
                                                                                                          b7D‐4,‐5       harm the source program by
  Administrative Materials        Memo                              handling of source; source Guidelines b7E‐5          disclosing source guidelines.

                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                                                                         record would harm the individual
                                                                    handling/vetting of source; database b6/b7C‐1,‐5     source by revealing source
  Administrative Materials        Memo                              inquiry                              b7D‐4,‐5        identity and activities.

                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                                                                         record would harm the individual
                                                                    handling/vetting of source; database b6/b7C‐5        source by revealing source
  Administrative Materials        Search                            results                              b7D‐6           identity and activities.

                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                              Sharing with Field Office source                     record would harm the individual
  Evidentiary/Investigative                                         provided information on specific    b6/b7C‐1,‐2,‐6   source by revealing source
         Materials               Teletype       FD‐36               subject matter                      b7D‐4,‐5,‐6      identity and activities.

                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                                   record would harm the individual
  Evidentiary/Investigative                                         Summary of source provided info re b6/b7C‐1,‐2,‐6    source by revealing source
         Materials                Memo                              specific investigative matters     b7D‐4,‐5,‐6       identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                 EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE       Form #   OGA Info              DESCRIPTION                    APPLIED       SEGREGABILITY HARM ANALYSIS

                                                                                                                                General investigative record.
                                                                                                                                Disclosure of any details of this
      Administrative &                                                                                                          record would harm the individual
  Evidentiary/Investigative                                             Summary of source provided info re b6/b7C‐1,‐2,‐6       source by revealing source
         Materials                  Memo                                specific investigative matters     b7D‐4,‐5,‐6          identity and activities.

                                                                                                                                General administrative record.
                                                                                                                                Disclosure of any details of this
                                                                                                                                record would harm the individual
                                                                                                                                source by revealing source
  Administrative Materials        Teletype          FD‐36               contact/handling of source            b7D‐4,‐5          identity and activities.

                                                                                                                                General administrative record.
                                                                                                                                Disclosure of any details of this
                                                                                                                                record would harm the individual
                                                                                                                                source by revealing source
  Administrative Materials          Memo                                contact/handling of source            b7D‐4,‐5          identity and activities.
                                                                                                                                Records specific to source files.
                                                                                                                                Disclosure would cause harm to
                                                                                                                                the source and the source
                                                                                                                                program by disclosing the
                                                                        vetting/handling of source; suitability                 contents of the source file and
                                                                        inquiry with personal identifying info b6/b7C‐1,‐2,‐5   the actions and length of activity
  Administrative Materials          Memo                                of source                               b7D‐4,‐5,‐6     of this specific source.
                                                                                                                                General administrative record.
                                                                                                                                Disclosure of any details of this
                                                                                                              b6/b7C‐1,‐5       record would harm the individual
                                                                        handling/vetting of source; Search    b7D‐5,‐6          source by revealing source
  Administrative Materials    Indices Search Slip   FD‐160              Slip                                  b7E‐13            identity and activities.


                                                                                                                                General administrative record.
                                                                                                                                Disclosure of any details of this
                                                                                                                                record would harm the individual
                                                                                                                                source by revealing the scope
  Administrative Materials         Search                               handling/vetting of source                              and focus of the source's file.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                 EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE      Form #   OGA Info               DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                              b6/b7C‐1,‐5    record would harm the individual
                                                                                                              b7D‐5,‐6       source by revealing source
  Administrative Materials   Indices Search Slip   FD‐160              handling/vetting of source             b7E‐13         identity and activities.

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                                                                                                              b6/b7C‐1,‐5    source by revealing source
  Administrative Materials      Field Airtel       FD‐36               handling/vetting of source             b7D‐4,‐5,‐6    identity and activities.

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                                                                       handling/vetting source; suitability   b6/b7C‐1,‐5    source by revealing source
  Administrative Materials         Memo                                inquiry                                b7D‐4,‐5,‐6    identity and activities.

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                                 Records                               vetting/ handling of source; Criminal b6/b7C‐1,‐5     source by revealing source
  Administrative Materials   Request/Research      FD‐125              Record Request on source              b7D‐6           identity and activities.

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                                                                       vetting/handling of source; Criminal b6/b7C‐5         source by revealing source
  Administrative Materials        Search                               History                              b7D‐6            identity and activities.

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                               Letter/ Record                          vetting source ‐ seeking criminal      b6/b7C‐1,‐5    source by revealing source
  Administrative Materials        Request                              record                                 b7D‐5,‐6       identity and activities.
                                        Case 1:17-cv-01193-JEB Document 82-1 Filed 03/02/22 Page 32 of 104




CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                    APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                             Records specific to source files.
                                                                                                                             Disclosure would cause harm to
                                                                                                                             the source and the source
                                                                                                                             program by disclosing the
      Administrative &        Memorandum for                                                                b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Statistical accomplishments for       b7D‐4,‐5         the actions and length of activity
         Materials             with Informants    FD‐209              specific source                       b7E‐10           of this specific source.
                                                                                                                             Records specific to source files.
                                                                                                                             Disclosure would cause harm to
                                                                                                                             the source and the source
                                                                                                                             program by disclosing the
      Administrative &        Memorandum for                                                                                 contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Statistical accomplishments for                        the actions and length of activity
         Materials             with Informants    FD‐209              specific source                       b7E‐11           of this specific source.
                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                      handling of Source; review of source b6/7C‐1           record would harm the individual
                                                                      provided info and suitability of     b7D‐4,‐5          source by revealing source
  Administrative Materials         Memo                               source                               b7E‐11            identity and activities.

                                                                                                                             General administrative record.
                                                                      revision to the source symbol                          Disclosure of any details of this
      Administrative &                                                number assigned source; suitability                    record would harm the individual
  Evidentiary/Investigative                                           of source; information provided by    b6/b7C‐1,‐2,‐5   source by revealing source
         Materials               Field Airtel     FD‐36               source re specific investigation      b7D‐4,‐5,‐6      identity and activities.

                                                                                                                             General administrative record.
                                                                      revision to the source symbol                          Disclosure of any details of this
      Administrative &                                                number assigned source; suitability                    record would harm the individual
  Evidentiary/Investigative                                           of source; information provided by    b6/b7C‐1,‐2,‐5   source by revealing source
         Materials                 Memo                               source re specific investigation      b7D‐4,‐5,‐6      identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION                    APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                    revision to the source symbol                          record would harm the individual
                                                                    number assigned source; suitability   b6/b7C‐1,‐2,‐5   source by revealing source
  Administrative Materials        Memo                              of source                             b7D‐4,‐5,‐6      identity and activities.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                    handling of source; agent             b6/b7C‐1         source by revealing source
  Administrative Materials        Memo                              reassignment                          b7D‐4,‐5         identity and activities.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                          b6/b7C‐1         record would harm the individual
                                                                    handling of source; Informant         b7D‐4,‐5         source by revealing source
  Administrative Materials        Memo                              Guidelines                            b7E‐5            identity and activities.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                    handling of source; source status     b6/b7C‐1         source by revealing source
  Administrative Materials        Memo                              update                                b7D‐4,‐5         identity and activities.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                    handling of source; agent             b6/b7C‐1         source by revealing source
  Administrative Materials        Memo                              reassignment                          b7D‐4,‐5         identity and activities.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                     b3‐4            record would harm the individual
  Evidentiary/Investigative                                         handling of source; details re source; b6/b7C‐1        source by revealing source
         Materials                Memo                              specific investigative interest        b7D‐4,‐5        identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                   APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
                                                                                                                          the source and the source
                                                                                                                          program by disclosing the
                              Memorandum for                                                               b6/b7C‐1       contents of the source file and
                              Recording Contact                       handling of source; agent            b7D‐5,‐6       the actions and length of activity
  Administrative Materials     with Informants    FD‐209              reassignment                         b7E‐10         of this specific source.
                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                     b6/b7C‐1       record would harm the individual
  Evidentiary/Investigative                                           source reporting; source expenses re b7D‐4,‐5,‐6    source by revealing source
         Materials                 Memo                               specific investigation               b7E‐12         identity and activities.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                     b6/b7C‐1       record would harm the individual
  Evidentiary/Investigative                                           source reporting; source expenses re b7D‐4,‐5,‐6    source by revealing source
         Materials                Voucher         FD‐536              specific investigation               b7E‐12         identity and activities.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                           Source reporting on specific         b6/b7C‐1       source by revealing source
         Materials                 Memo                               investigative interest               b7D‐4,‐5,‐6    identity and activities.

                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
                                                                                                                          the source and the source
                                                                                                                          program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source reporting on specific         b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                                                          b6/b7C‐1       record would harm the individual
                                                                                                          b7D‐4,‐5       source by revealing source
  Administrative Materials        Memo                              source guidelines                     b7E‐5          identity and activities.

                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                    assignment of specific source                        record would harm the individual
                                                                    numbered informants and files to      b6/b7C‐1       source by revealing source
  Administrative Materials        Memo                              specific agents and squads            b7D‐5          identity and activities.

                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                                                          b6/b7C‐1       record would harm the individual
                                                                                                          b7D‐4,‐5       source by revealing source
  Administrative Materials        Memo                              source handling Guidelines            b7E‐5          identity and activities.

                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                                   record would harm the individual
  Evidentiary/Investigative                                         source handling/contact; discussion   b6/b7C‐1,‐2    source by revealing source
         Materials                Memo                              of specific investigative matter      b7D‐4,‐5       identity and activities.

                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                                                                         record would harm the individual
                                                                    source handling; assignment of        b6/b7C‐1       source by revealing source
  Administrative Materials        Memo                              alternate agent                       b7D‐4,‐5       identity and activities.

                                                                                                                         General investigative record.
                                 Record of                                                                               Disclosure of any details of this
      Administrative &          Information                                                                              record would harm the individual
  Evidentiary/Investigative   Furnished Other                       source provided Information shared b6/b7C‐1,‐4       source by revealing source
         Materials                Agencies      FD‐159              with law enforcement               b7D‐5,‐6          identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                           Records specific to source files.
                                                                                                                           Disclosure would cause harm to
                                                                                                                           the source and the source
                                                                                                                           program by disclosing the
      Administrative &        Memorandum for                                                             b6/b7C‐1          contents of the source file and
  Evidentiary/Investigative   Recording Contact                       source provided Information shared b7D‐4,‐5,‐6       the actions and length of activity
         Materials             with Informants    FD‐209              with law enforcement               b7E‐5             of this specific source.
                                                                                                                           Records specific to source files.
                                                                                                                           Disclosure would cause harm to
                                                                                                                           the source and the source
                                                                                                                           program by disclosing the
      Administrative &        Memorandum for                                                             b6/b7C‐1          contents of the source file and
  Evidentiary/Investigative   Recording Contact                       source provided Information shared b7D‐4,‐5,‐6       the actions and length of activity
         Materials             with Informants    FD‐209              with law enforcement               b7E‐5             of this specific source.
                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                                                                           source by revealing source
                                                                                                                           identity and activities. Disclosure
                                                                                                                           of the guidelines would also harm
                                                                                                            b6/b7C‐1       the source program by revealing
                                                                                                            b7D‐4,‐5       the FBI's internal source
  Administrative Materials         Memo                               source handling guidelines            b7E‐5          procedures.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                      b6/b7C‐1,‐2    record would harm the individual
  Evidentiary/Investigative                                                                                 b7D‐4,‐5       source by revealing source
         Materials                Voucher         FD‐536              source handling; source expenses      b7E‐12         identity and activities.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                           source handling/contact; discussion   b6/b7C‐1       source by revealing source
         Materials                 Memo                               of specific investigative matter      b7D‐4,‐5       identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE    Form #   OGA Info              DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                           b6/b7C‐1       record would harm the individual
                                                                                                           b7D‐4,‐5       source by revealing source
  Administrative Materials        Memo                               source handling guidelines            b7E‐5          identity and activities.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                                                           b6/b7C‐1       source by revealing source
  Administrative Materials          EC                               source handling; status of source     b7D‐4,‐5       identity and activities.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                     source handling; reassignment of      b6/b7C‐1       source by revealing source
  Administrative Materials          EC                               agent                                 b7D‐4,‐5       identity and activities.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                          source handling/contact; discussion   b6/b7C‐1       source by revealing source
         Materials                Memo                               of specific investigative matter      b7D‐4,‐5       identity and activities.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                           b6/b7C‐1       record would harm the individual
                                                                                                           b7D‐4,‐5       source by revealing source
  Administrative Materials        Memo                               handling of source/guidelines         b7E‐5          identity and activities.
                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                     handling of source; source symbol                    record would harm the individual
                                                                     numbered informant assigned new       b6/b7C‐1       source by revealing source
  Administrative Materials      Field Airtel     FD‐36               source file number                    b7D‐4,‐5       identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                              Informant Review/                       handling of source; source provided                  source by revealing source
  Administrative Materials          File No                           new source file number                b7D‐5          identity and activities.
                                                                                                                           Records specific to source files.
                                                                                                                           Disclosure would cause harm to
                                                                                                                           the source and the source
                                                                                                                           program by disclosing the
      Administrative &        Memorandum for                                                               b6,b7C‐1,‐2     contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact/source reporting on specific b7D‐4,‐5,‐6     the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10          of this specific source.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
  Evidentiary/Investigative                                           Source Interview; source reporting    b6/b7C‐1,‐2    source by revealing source
         Materials             Interview Form     FD‐302              on specific investigative interest    b7D‐6          identity and activities.
                                                                                                                           Records specific to source files.
                                                                                                                           Disclosure would cause harm to
                                                                                                                           the source and the source
                                                                                                                           program by disclosing the
      Administrative &        Memorandum for                                                               b6,b7C‐1,‐2     contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact/source reporting on specific b7D‐4,‐5,‐6     the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10          of this specific source.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
  Evidentiary/Investigative                                           Source interview; source reporting    b6/b7C‐1       source by revealing source
         Materials             Interview Form     FD‐302              on specific investigative interest    b7D‐6          identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                   APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
                                                                                                                          the source and the source
                                                                                                                          program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific         b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10         of this specific source.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
  Evidentiary/Investigative                                           Source interview; source reporting   b6/b7C‐1,‐2    source by revealing source
         Materials             Interview Form     FD‐302              on specific investigative interest   b7D‐6          identity and activities.

                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
                                                                                                                          the source and the source
                                                                                                                          program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific         b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10         of this specific source.
                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
                                                                                                                          the source and the source
                                                                                                                          program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific         b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10         of this specific source.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
  Evidentiary/Investigative                                           Source interview; source reporting   b6/b7C‐1,‐2    source by revealing source
         Materials             Interview Form     FD‐302              on specific investigative interest   b7D‐6          identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                   APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                            Records specific to source files.
                                                                                                                            Disclosure would cause harm to
                                                                                                                            the source and the source
                                                                                                                            program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1         contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific         b7D‐4,‐5         the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10           of this specific source.
                                                                                                                            Records specific to source files.
                                                                                                                            Disclosure would cause harm to
                                                                                                                            the source and the source
                                                                                                                            program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1         contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific         b7D‐4,‐5         the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10           of this specific source.
                                                                                                                            General investigative record.
                                                                                                                            Disclosure of any details of this
                                                                                                                            record would harm the individual
  Evidentiary/Investigative                                           Source interview; source reporting   b6/b7C‐1,‐2      source by revealing source
         Materials             Interview Form     FD‐302              on specific investigative interest   b7D‐6            identity and activities.
                                                                                                                            Records specific to source files.
                                                                                                                            Disclosure would cause harm to
                                                                                                                            the source and the source
                                                                                                                            program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1         contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific         b7D‐4,‐5         the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10           of this specific source.
                                                                                                                            General investigative record.
                                                                                                                            Disclosure of any details of this
                                                                                                                            record would harm the individual
  Evidentiary/Investigative                                           Source interview; source reporting   b6/b7C‐1,‐2,‐6   source by revealing source
         Materials             Interview Form     FD‐302              on specific investigative interest   b7D‐6            identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                 APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                         Records specific to source files.
                                                                                                                         Disclosure would cause harm to
                                                                                                                         the source and the source
                                                                                                                         program by disclosing the
      Administrative &        Memorandum for                                                              b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific     b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest              b7E‐10         of this specific source.
                                                                                                                         Records specific to source files.
                                                                                                                         Disclosure would cause harm to
                                                                                                                         the source and the source
                                                                                                                         program by disclosing the
      Administrative &        Memorandum for                                                              b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific        b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest              b7E‐10         of this specific source.
                                                                                                                         Records specific to source files.
                                                                                                                         Disclosure would cause harm to
                                                                                                                         the source and the source
                                                                                                                         program by disclosing the
      Administrative &        Memorandum for                                                              b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific        b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest              b7E‐10         of this specific source.
                                                                                                                         Records specific to source files.
                                                                                                                         Disclosure would cause harm to
                                                                                                                         the source and the source
                                                                                                                         program by disclosing the
      Administrative &        Memorandum for                                                              b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific        b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest              b7E‐10         of this specific source.

                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
                                                                                                                         record would harm the individual
  Evidentiary/Investigative                                           Source's interview; source reporting b6/b7C‐1,‐2   source by revealing source
         Materials             Interview Form     FD‐302              on specific investigative interest   b7D‐6         identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                      EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                         Source Reporting on specific   b6/b7C‐1,‐2,‐6   source by revealing source
         Materials                Memo                              investigative interest         b7D‐4,‐5,‐6      identity and activities.
                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                         Source Reporting on specific   b6/b7C‐1,‐2      source by revealing source
         Materials                Memo                              investigative interest         b7D‐4,‐5,‐6      identity and activities.

                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                         Source Reporting on specific   b6/b7C‐1,‐2      source by revealing source
         Materials                Memo                              investigative interest         b7D‐4,‐5,‐6      identity and activities.

                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                         Source Reporting on specific   b6/b7C‐1,‐2      source by revealing source
         Materials                Memo                              investigative interest         b7D‐4,‐5,‐6      identity and activities.
                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                         Source Reporting on specific   b6/b7C‐1,‐2      source by revealing source
         Materials                Memo                              investigative interest         b7D‐4,‐5,‐6      identity and activities.

                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                         Source Reporting on specific   b6/b7C‐1,‐2      source by revealing source
         Materials                Memo                              investigative interest         b7D‐4,‐5,‐6      identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                  APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
  Evidentiary/Investigative                                           Source Reporting on specific        b6/b7C‐1,‐2      source by revealing source
         Materials                 Memo                               investigative interest              b7D‐4,‐5,‐6      identity and activities.
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
  Evidentiary/Investigative                                           Lead set based on source provided   b6/b7C‐1,‐2      source by revealing source
         Materials                  Airtel                            info                                b7D‐5            identity and activities.
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
  Evidentiary/Investigative                                           Source Reporting on specific        b6/b7C‐1,‐2,‐6   source by revealing source
         Materials                  Airtel                            investigative interest              b7D‐4,‐5,‐6      identity and activities.
                                                                                                                           Records specific to source files.
                                                                                                                           Disclosure would cause harm to
                                                                                                                           the source and the source
                                                                                                                           program by disclosing the
      Administrative &        Memorandum for                                                              b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific        b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest              b7E‐10           of this specific source.
                                                                                                                           Records specific to source files.
                                                                                                                           Disclosure would cause harm to
                                                                                                                           the source and the source
                                                                                                                           program by disclosing the
      Administrative &        Memorandum for                                                              b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific        b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest              b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
                                                                                                                      the source and the source
                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
                                                                                                                      Records specific to source files.
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐6      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
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                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
                                                                                                                    Records specific to source files.
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                                                                                                                    the source and the source
                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                           Source Reporting on specific   b6/b7C‐1,‐2    source by revealing source
         Materials             Interview Form     FD‐302              investigative interest         b7D‐6          identity and activities.
                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
                                                                                                                    the source and the source
                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                           Source Reporting on specific   b6/b7C‐1,‐2    source by revealing source
         Materials             Interview Form     FD‐302              investigative interest         b7D‐6          identity and activities.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
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                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                    Records specific to source files.
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                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
                                                                                                                    Records specific to source files.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
                                                                                                                    Records specific to source files.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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                                                                                                                      Disclosure would cause harm to
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
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                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
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                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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                                                                                                                    Disclosure would cause harm to
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS

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      Administrative &        Memorandum for                                                         b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                  APPLIED    SEGREGABILITY HARM ANALYSIS
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      Administrative &        Memorandum for                                                              b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific        b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest              b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                              b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific        b7D‐4,‐5,‐6    the actions and length of activity
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      Administrative &        Memorandum for                                                              b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific        b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest              b7E‐10         of this specific source.

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      Administrative &        Memorandum for                          Source Reporting on specific        b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       investigative interest; documents   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              provided by source                  b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐6      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                           EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION               APPLIED    SEGREGABILITY HARM ANALYSIS
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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                            b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                           EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION               APPLIED    SEGREGABILITY HARM ANALYSIS
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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                            b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                           EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION               APPLIED    SEGREGABILITY HARM ANALYSIS
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      Administrative &        Memorandum for                                                            b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                            b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.

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      Administrative &        Memorandum for                                                            b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                           EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION               APPLIED    SEGREGABILITY HARM ANALYSIS

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      Administrative &        Memorandum for                                                            b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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      Administrative &        Memorandum for                                                            b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific   b7D‐4,‐5       the actions and length of activity
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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
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      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
                                                                                                                    the source and the source
                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
                                                                                                                    the source and the source
                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
                                                                                                                    the source and the source
                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
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                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1         contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5         the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
                                                                                                                      the source and the source
                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
                                                                                                                      Records specific to source files.
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      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                           EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION               APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                       Records specific to source files.
                                                                                                                       Disclosure would cause harm to
                                                                                                                       the source and the source
                                                                                                                       program by disclosing the
      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.

                                                                                                                       Records specific to source files.
                                                                                                                       Disclosure would cause harm to
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                                                                                                                       program by disclosing the
      Administrative &        Memorandum for                                                            b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
                                                                                                                       Records specific to source files.
                                                                                                                       Disclosure would cause harm to
                                                                                                                       the source and the source
                                                                                                                       program by disclosing the
      Administrative &        Memorandum for                                                            b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific   b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.

                                                                                                                       Records specific to source files.
                                                                                                                       Disclosure would cause harm to
                                                                                                                       the source and the source
                                                                                                                       program by disclosing the
      Administrative &        Memorandum for                                                            b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific      b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest            b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED        SEGREGABILITY HARM ANALYSIS
                                                                                                                        Records specific to source files.
                                                                                                                        Disclosure would cause harm to
                                                                                                                        the source and the source
                                                                                                                        program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐6        contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6        the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10             of this specific source.

                                                                                                                       Records specific to source files.
                                                                                                                       Disclosure would cause harm to
                                                                                                                       the source and the source
                                                                                                                       program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐4,‐5,‐6 contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10            of this specific source.

                                                                                                                        Records specific to source files.
                                                                                                                        Disclosure would cause harm to
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                                                                                                                        program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6     contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6        the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10             of this specific source.
                                                                                                                        Records specific to source files.
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                                                                                                                        the source and the source
                                                                                                                        program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6     contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6        the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10             of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
                                                                                                                      the source and the source
                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
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                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐6      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
                                                                                                                      the source and the source
                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐6      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
                                                                                                                      the source and the source
                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
                                                                                                                      the source and the source
                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
                                                                                                                      the source and the source
                                                                                                                      program by disclosing the
                              Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
 Memorandum for Recording     Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
  Contact with Informants      with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.

                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
                                                                                                                      the source and the source
                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2,‐6   contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
                                                                                                                      Records specific to source files.
                                                                                                                      Disclosure would cause harm to
                                                                                                                      the source and the source
                                                                                                                      program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2      contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6      the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10           of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION             APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
                                                                                                                    the source and the source
                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
                                                                                                                    the source and the source
                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
                                                                                                                    Records specific to source files.
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                                                                                                                    the source and the source
                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.

                                                                                                                    Records specific to source files.
                                                                                                                    Disclosure would cause harm to
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                                                                                                                    program by disclosing the
      Administrative &        Memorandum for                                                         b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific   b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest         b7E‐10         of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info               DESCRIPTION                  APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
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                                                                                                                          program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific         b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10         of this specific source.

                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
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                                                                                                                          program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1       contents of the source file and
  Evidentiary/Investigative   Recording Contact                       contact with source re specific      b7D‐4,‐5       the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10         of this specific source.
                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
                                                                                                                          the source and the source
                                                                                                                          program by disclosing the
      Administrative &        Memorandum for                                                               b6/b7C‐1,‐2    contents of the source file and
  Evidentiary/Investigative   Recording Contact                       Source Reporting on specific         b7D‐4,‐5,‐6    the actions and length of activity
         Materials             with Informants    FD‐209              investigative interest               b7E‐10         of this specific source.
                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                      Files transmitted regarding source   b6/b7C‐1,‐5    source by revealing source
  Administrative Materials          Airtel                            investigation                        b7D‐6          activities and focus.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                      source file number reclassified;  b6/b7C‐1,‐5       source by revealing source
  Administrative Materials         Memo                               source assigned a unique codename b7D‐4,‐5,‐6       activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #    OGA Info              DESCRIPTION                   APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                                                                       source file number reclassified;  b6/b7C‐1,‐5         source by revealing source
  Administrative Materials         Memo                                source assigned a unique codename b7D‐4,‐5,‐6         activities and focus.

                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                 Summary of source's status,                           record would harm the individual
  Evidentiary/Investigative                                            background, and source's assist to   b6/b7C‐1,‐2,‐5   source by revealing source
         Materials                 Memo                                specific investigative matters       b7D‐4,‐5,‐6      activities and focus.
                                                                                                                             General investigative record.
                                                                       1A Envelope Log describing contact                    Disclosure of any details of this
      Administrative &                                                 with source symbol numbered                           record would harm the individual
  Evidentiary/Investigative                                            informant; description of documents b6/b7C‐2,‐5       source by revealing source
         Materials            1A Envelope/Log     FD‐340a              provided by source                  b7D‐4,‐5,‐6       activities and focus.
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                 1A Envelope log recording contact                     record would harm the individual
  Evidentiary/Investigative                                            with source symbol numbered          b6/b7C‐1         source by revealing source
         Materials             1A Envelope Log    FD‐340a              informant                            b7D‐4,‐5         activities and focus.
                                                                       1A Envelope enclosure ‐ agent's                       General investigative record.
                                                                       handwritten notes of contact with                     Disclosure of any details of this
      Administrative &          1A Envelope                            source symbol numbered informant;                     record would harm the individual
  Evidentiary/Investigative      Enclosure/                            source reporting/information      b6/b7C‐2            source by revealing source
         Materials            Handwritten Notes                        provided by source                b7D‐4,‐5,‐6         activities and focus.
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                            1A Envelope recording interview of   b6/b7C‐1         source by revealing source
         Materials              1A Envelope       FD‐340               Source                               b7D‐5            activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                    EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE       Form #   OGA Info               DESCRIPTION                      APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                        1A Envelope enclosure ‐ agent's                           General investigative record.
                                                                        handwritten notes of contact with                         Disclosure of any details of this
      Administrative &          1A Envelope                             source ; source                                           record would harm the individual
  Evidentiary/Investigative      Enclosure/                             reporting/information provided by        b6/b7C‐2         source by revealing source
         Materials            Handwritten Notes                         source                                   b7D‐5,‐6         activities and focus.


                                                                                                                                  General administrative record.
                                                                                                                                  Disclosure of any details of this
                                                                        Cover sheet for indices search results                    record would harm the individual
                                                                        concerning source                                         source by revealing the scope
  Administrative Materials         Search                               (background/vetting source)                               and focus of the source's file.
                                                                                                                                  General administrative record.
                                                                                                                                  Disclosure of any details of this
                                                                        Enclosures to search cover sheet;        b6/b7C‐1,‐5,‐6   record would harm the individual
                                                                        indices search results concerning        b7D‐6            source by revealing source
  Administrative Materials    Indices Search Slip   FD‐160              source (background/vetting source)       b7E‐13           activities and focus.

                                                                                                                                  General administrative record.
                                                                                                                                  Disclosure of any details of this
                                                                                                                 b6/b7C‐1,‐5      record would harm the individual
                                                                        handling/vetting of source; Search       b7D‐6            source by revealing source
  Administrative Materials    Indices Search Slip   FD‐160              Slip                                     b7E‐13           activities and focus.
                                                                                                                                  General investigative record.
                                                                                                                                  Disclosure of any details of this
      Administrative &                                                  handling of source and info provided                      record would harm the individual
  Evidentiary/Investigative                                             by source on specific investigative  b6/b7C‐1,‐2,‐5       source by revealing source
         Materials                  Memo                                matter                               b7D‐4,‐5,‐6          activities and focus.
                                                                                                                                  General administrative record.
                                                                                                                                  Disclosure of any details of this
                                                                                                                                  record would harm the individual
                                                                        Documentation specific to a source       b6/b7C‐1         source by revealing source
  Administrative Materials          Memo                                for inclusion in source file             b7D‐4,‐5         activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                  EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE       Form #   OGA Info              DESCRIPTION                     APPLIED     SEGREGABILITY HARM ANALYSIS
                                                                                                                               General administrative record.
                                                                                                                               Disclosure of any details of this
                                                                                                               b6/b7C‐1,‐5     record would harm the individual
                                                                        handling/vetting of source; Search     b7D‐‐5,6        source by revealing source
  Administrative Materials    Indices Search Slip   FD‐160              Slip                                   b7E‐13          activities and focus.
                                                                                                                               General investigative record.
                                                                        Airtel summarizing interview of                        Disclosure of any details of this
                                                                        source; the source's assistance with                   record would harm the individual
  Evidentiary/Investigative                                             an investigative matter and the        b6/b7C‐1,‐6     source by revealing source
         Materials                Field Airtel      FD‐36               source's associated expenses           b7D‐4,‐5,‐6     activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                  Summary of info provided by source                     record would harm the individual
  Evidentiary/Investigative                                             in specific to investigative matters; b6/b7C‐1,‐2,‐6   source by revealing source
         Materials                  Report                              source's status                       b7D‐4,‐5,‐6      activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                  Summary of info provided by source                     record would harm the individual
  Evidentiary/Investigative                                             in specific to investigative matters; b6/b7C‐1,‐2,‐6   source by revealing source
         Materials                  Report                              source's status                       b7D‐4,‐5,‐6      activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                  Summary of info provided by source                     record would harm the individual
  Evidentiary/Investigative                                             in specific to investigative matters; b6/b7C‐1,‐2,‐6   source by revealing source
         Materials                  Report                              source's status                       b7D‐4,‐5,‐6      activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                  Summary of info provided by source                     record would harm the individual
  Evidentiary/Investigative                                             in specific to investigative matters; b6/b7C‐1,‐2,‐6   source by revealing source
         Materials                  Report                              source's status                       b7D‐4,‐5,‐6      activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                 EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE      Form #   OGA Info               DESCRIPTION                    APPLIED       SEGREGABILITY HARM ANALYSIS

                                                                                                                                General administrative record.
                                                                                                                                Disclosure of any details of this
                                                                                                                                record would harm the individual
                                                                       Documenting correction to source       b6/b7C‐5     b7D‐ source by revealing source
  Administrative Materials          Memo                               file/identifying info of source        4,‐5,‐6           activities and focus.

                                                                                                                                General administrative record.
                                                                                                                                Disclosure of any details of this
                                                                                                                                record would harm the individual
                                                                       Documenting correction to source       b6/b7C‐5     b7D‐ source by revealing source
  Administrative Materials          Memo                               file/identifying info of source        4,‐5,‐6           activities and focus.

                                                                                                                                General investigative record.
                                                                                                                                Disclosure of any details of this
      Administrative &                                                                                                          record would harm the individual
  Evidentiary/Investigative                                            Memo re sources activities and         b6/b7C‐1,‐2,‐5    source by revealing source
         Materials                  Memo                               associates                             b7D‐5,‐6          activities and focus.

                                                                                                                                General administrative record.
                                                                                                                                Disclosure of any details of this
                                                                       Consolidation of file contents into a                    record would harm the individual
                                                                       source symbol numbered informant's b6/b7C‐1              source by revealing source
  Administrative Materials          Memo                               file                                  b7D‐4,‐5           activities and focus.
                                                                                                                                General investigative record.
                                                                                                              b3‐3              Disclosure of any details of this
      Administrative &                                                                                        b6/b7C‐1,‐2,‐5    record would harm the individual
  Evidentiary/Investigative                                            Interview of source re investigative   b7D‐6             source by revealing source
         Materials              Interview Form     FD‐302              matter                                 b7E‐2             activities and focus.
                                                                                                                                Records specific to source files.
                                                                                                                                Disclosure would cause harm to
                                                                                                                                the source and the source
                                                                                                                                program by disclosing the
                              Memo for Recording                       Memo describing contact with           b6/b7C‐1          contents of the source file and
  Evidentiary/Investigative     Contact with                           source on specific investigative       b7D‐4,‐5          the actions and length of activity
         Materials               Informants        FD‐209              matter                                 b7E‐10            of this specific source.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE      Form #   OGA Info               DESCRIPTION                 APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                            General investigative record.
                                                                                                           b3‐3             Disclosure of any details of this
      Administrative &                                                                                     b6/b7C‐1,‐2,‐5   record would harm the individual
  Evidentiary/Investigative                                            Source interview re                 b7D‐6            source by revealing source
         Materials              Interview Form     FD‐302              handling/Reporting                  b7E‐2            activities and focus.
                                                                                                                            Records specific to source files.
                                                                                                                            Disclosure would cause harm to
                                                                                                                            the source and the source
                                                                                                                            program by disclosing the
                              Memo for Recording                       Memo describing contact with        b6/b7C‐1         contents of the source file and
  Evidentiary/Investigative     Contact with                           source on specific investigative    b7D‐4,‐5         the actions and length of activity
         Materials               Informants        FD‐209              matter                              b7E‐10           of this specific source.

                                                                                                                            General investigative record.
                                                                                                           b3‐3             Disclosure of any details of this
      Administrative &                                                                                     b6/b7C‐1,‐2,‐5   record would harm the individual
  Evidentiary/Investigative                                            Interview of source re undercover   b7D‐6            source by revealing source
         Materials              Interview Form     FD‐302              investigation                       b7E‐2            activities and focus.
                                                                                                                            Records specific to source files.
                                                                                                                            Disclosure would cause harm to
                                                                                                                            the source and the source
                                                                                                                            program by disclosing the
                              Memo for Recording                       Memo describing contact with        b6/b7C‐1         contents of the source file and
  Evidentiary/Investigative     Contact with                           source on specific investigative    b7D‐4,‐5         the actions and length of activity
         Materials               Informants        FD‐209              matter                              b7E‐10           of this specific source.
                                                                                                                            General investigative record.
                                                                                                                            Disclosure of any details of this
      Administrative &                                                                                     b3‐3             record would harm the individual
  Evidentiary/Investigative                                                                                b6/b7C‐1,‐2,‐5   source by revealing source
         Materials                  Memo                               Memo re source activities           b7D‐5,‐6         activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE    Form #   OGA Info              DESCRIPTION                    APPLIED        SEGREGABILITY HARM ANALYSIS
                                                                     Approval of Informant; designated
                                                                     symbol source number and code                            General investigative record.
                                                                     name; personal identifying info and                      Disclosure of any details of this
      Administrative &                                               background info on source;                               record would harm the individual
  Evidentiary/Investigative                                          information provided by source on     b6/b7C‐1,‐5        source by revealing source
         Materials               Field Airtel    FD‐36               specific investigative interest       b7D‐4,‐5,‐6        activities and focus.


                                                                     Approval of Informant; designated
                                                                     symbol source number and code                            General investigative record.
                                                                     name; personal identifying info and                      Disclosure of any details of this
      Administrative &                                               background info on source;                               record would harm the individual
  Evidentiary/Investigative                                          information provided by source on     b6/b7C‐5      b7D‐ source by revealing source
         Materials                 Memo                              specific investigative interest       4,‐5,‐6            activities and focus.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                     Memo detailing contact with source;                      record would harm the individual
                                                                     handling of source and relationship b6/b7C‐1             source by revealing source
  Administrative Materials         Memo                              with FBI                            b7D‐4,‐5,‐6          activities and focus.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                                                                              record would harm the individual
                                                                     Memo discussing source's              b6/b7C‐1           source by revealing source
  Administrative Materials         Memo                              reassignment to another agent         b7D‐4,‐5           activities and focus.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                                                                              record would harm the individual
                                  Records                            Background check on source            b6/b7C‐1,‐5        source by revealing source
  Administrative Materials    Request/Research                       (vetting/handling)                    b7D‐5,‐6           activities and focus.

                                                                                                                              General administrative record.
                                                                                                                              Disclosure of any details of this
                                                                                                                              record would harm the individual
                                  Records                            Request for background check on       b6/b7C‐1,‐5        source by revealing source
  Administrative Materials    Request/Research                       source (vetting/handling)             b7D‐4,‐5,‐6        activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE    Form #   OGA Info               DESCRIPTION                    APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                                                                     Results of background check on         b6/b7C‐1,‐5      source by revealing source
  Administrative Materials         Search                            source (vetting/handling)              b7D‐5,‐6         activities and focus.
                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                                                                             record would harm the individual
                                  Records                            Memo re background check on            b6/b7C‐1,‐5      source by revealing source
  Administrative Materials    Request/Research                       source                                 b7D‐4,‐5,‐6      activities and focus.
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                               Documentation on contact with                           record would harm the individual
  Evidentiary/Investigative                                          source and details of source provided b6/b7C‐1,‐2       source by revealing source
         Materials                 Memo                              info in specific investigative matters b7D‐4,‐5,‐6      activities and focus.

                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                               Documentation on contact with                           record would harm the individual
  Evidentiary/Investigative                                          source and details of source provided b6/b7C‐1,‐2,‐4,‐6 source by revealing source
         Materials                 Memo                              info in specific investigative matters b7D‐4,‐5,‐6      activities and focus.

                                                                                                                             General investigative record.
                                                                     Documentation on contact with                           Disclosure of any details of this
      Administrative &                                               source and details of source provided                   record would harm the individual
  Evidentiary/Investigative                                          info in specific investigative matters; b6/b7C‐1        source by revealing source
         Materials                 Memo                              enclosure provided by source            b7D‐4,‐5,‐6     activities and focus.
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                 b6/b7C‐2,‐5      source by revealing source
         Materials              1A Enclosure                         Source provided document               b7D‐6            activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE    Form #   OGA Info              DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                               Documentation on contact with                        record would harm the individual
  Evidentiary/Investigative                                          source and details of source provided b6/b7C‐1,‐2    source by revealing source
         Materials                 Memo                              info in specific investigative matters b7D‐4,‐5,‐6   activities and focus.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                     Request background info on source     b6/b7C‐1       source by revealing source
  Administrative Materials       Field Airtel    FD‐36               symbol numbered informant             b7D‐4,‐5,‐6    activities and focus.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                  Records                            Request background info on source     b6/b7C‐1       source by revealing source
  Administrative Materials    Request/Research                       symbol numbered informant             b7D‐4,‐5,‐6    activities and focus.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                     Background of source's cooperation                   record would harm the individual
                                                                     with government; discussion with   b6/b7C‐1          source by revealing source
  Administrative Materials         Memo                              other government agency            b7D‐4,‐5,‐6       activities and focus.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                               Description of contact with source;                  record would harm the individual
  Evidentiary/Investigative                                          instructions to source regarding      b6/b7C‐1,‐6    source by revealing source
         Materials                 Memo                              specific investigative matter         b7D‐4,‐5,‐6    activities and focus.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                     Request background info on source     b6/b7C‐1       source by revealing source
  Administrative Materials         Memo                              symbol numbered informant             b7D‐4,‐5,‐6    activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE      Form #   OGA Info               DESCRIPTION                  APPLIED        SEGREGABILITY HARM ANALYSIS
                                                                                                                               General administrative record.
                                                                                                                               Disclosure of any details of this
                                                                                                                               record would harm the individual
                                                                       Airtel discussing source and         b6/b7C‐1           source by revealing source
  Administrative Materials    Airtel Cover Sheet    0‐9                consolidation of info                b7D‐4,‐5,‐6        activities and focus.

                                                                                                                               General administrative record.
                                                                                                                               Disclosure of any details of this
                                                                                                                               record would harm the individual
                                                                       Background info on source            b6/b7C‐1,‐5        source by revealing source
  Administrative Materials         Memo                                (vetting/handling)                   b7D‐4,‐5,‐6        activities and focus.

                                                                                                                               General administrative record.
                                                                                                                               Disclosure of any details of this
                                                                                                                               record would harm the individual
                                                                       Agent reassignment to source         b6/b7C‐1           source by revealing source
  Administrative Materials         Memo                                symbol numbered informant            b7D‐4,‐5           activities and focus.

                                                                                                                                General administrative record.
                                                                       Background on source; summary of     b3‐3                Disclosure of any details of this
      Administrative &                                                 info source provided; details of     b6/b7C‐1,‐2,‐4,‐5,‐ record would harm the individual
  Evidentiary/Investigative                                            specific investigative matters the   6                   source by revealing source
         Materials                 Memo                                source assisted                      b7D‐4,‐5,‐6         activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                 Contact with source; Info provided                      record would harm the individual
  Evidentiary/Investigative                                            by source concerning specific        b6/b7C‐1,‐2        source by revealing source
         Materials                 Memo                                investigative matter                 b7D‐4,‐5,‐6        activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                 Summary of info provided by source b6/b7C‐2,‐6          record would harm the individual
  Evidentiary/Investigative                                            in specific to investigative matters; b7D‐4,‐5,‐6       source by revealing source
         Materials                 Report                              source's status                       b7E‐1             activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info               DESCRIPTION                     APPLIED        SEGREGABILITY HARM ANALYSIS
                                                                                                                               Document provided by a source.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                                                                 b6/b7C‐2,‐4        source by revealing source
         Materials            Source Derived                        Source provided document                b7D‐6              activities and focus.

                                                                                                                                Document provided by a source.
                                                                                                            b3‐1                Disclosure of any details of this
      Administrative &                                                                                      b6/b7C‐1,‐2,‐4,‐5,‐ record would harm the individual
  Evidentiary/Investigative                                                                                 6             b7D‐ source by revealing source
         Materials            Source Derived                        Source provided document                5,‐6                activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                         Memo enclosing source provided          b6/b7C‐1           source by revealing source
         Materials                Memo                              documents                               b7D‐4,‐5,‐6        activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                         Summary of contact with source;         b6/b7C‐1,‐6        source by revealing source
         Materials                Memo                              info re specific investigative matter   b7D‐4,‐5,‐6        activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                         Memo enclosing documents                b6/b7C‐1,‐6        source by revealing source
         Materials                Memo                              provided by source                      b7D‐4,‐5,‐6        activities and focus.

                                                                                                                               Document provided by a source.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                                                                                    source by revealing source
         Materials            Source Derived                        Source provided document                b7D‐6              activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                 EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info             DESCRIPTION         APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                             Document provided by a source.
                                                                                                             Disclosure of any details of this
      Administrative &                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                  source by revealing source
         Materials            Source Derived                        Source provided document   b7D‐6         activities and focus.

                                                                                                             Document provided by a source.
                                                                                                             Disclosure of any details of this
      Administrative &                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                  source by revealing source
         Materials            Source Derived                        Source provided document   b7D‐6         activities and focus.

                                                                                                             Document provided by a source.
                                                                                                             Disclosure of any details of this
      Administrative &                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                  source by revealing source
         Materials            Source Derived                        Source provided document   b7D‐6         activities and focus.

                                                                                                             Document provided by a source.
                                                                                                             Disclosure of any details of this
      Administrative &                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                  source by revealing source
         Materials            Source Derived                        Source provided document   b7D‐6         activities and focus.

                                                                                                             Document provided by a source.
                                                                                                             Disclosure of any details of this
      Administrative &                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                  source by revealing source
         Materials            Source Derived                        Source provided document   b7D‐6         activities and focus.

                                                                                                             Document provided by a source.
                                                                                                             Disclosure of any details of this
      Administrative &                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                  source by revealing source
         Materials            Source Derived                        Source provided document   b7D‐5         activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION                    APPLIED        SEGREGABILITY HARM ANALYSIS
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                         Memo attaching a document             b6/b7C‐1           source by revealing source
         Materials                Memo                              provided by a source                  b7D‐4,‐5,‐6        activities and focus.

                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                         Memo documenting contact with         b6/b7C‐1           source by revealing source
         Materials                Memo                              source; and info provided by source   b7D‐4,‐5,‐6        activities and focus.

                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                         Memo documenting contact with         b6/b7C‐1,‐6        source by revealing source
         Materials                Memo                              source                                b7D‐4,‐5,‐6        activities and focus.
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                         Memo documenting contact with         b6/b7C‐1,‐6        source by revealing source
         Materials                Memo                              source; source's status               b7D‐4,‐5,‐6        activities and focus.
                                                                                                                              General investigative record.
                                                                                                          b6/b7C‐1,‐2,‐3,‐5,‐ Disclosure of any details of this
      Administrative &                                                                                    6           b7D‐ record would harm the individual
  Evidentiary/Investigative                                         Interview of source; source reporting 5,‐6       B7E‐ source by revealing source
         Materials            Interview Form    FD‐302              on specific investigative matter      14                  activities and focus.

                                                                                                                             General administrative record.
                                                                                                                             Disclosure of any details of this
                                                                    Memo regarding source's status;       b6/b7C‐1           record would harm the individual
                                                                    background on source; request for     b7D‐4,‐5,‐6        source by revealing source
  Administrative Materials        Memo                              polygraph exam                        b7E‐14             activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                   APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                          Records specific to source files.
                                                                                                                          Disclosure would cause harm to
                                                                                                                          the source and the source
                                                                                                                          program by disclosing the
                              Memorandum for                                                                              contents of the source file and
  Evidentiary/Investigative   Recording Contact                                                            b6/b7C‐1       the actions and length of activity
         Materials             with Informants    FD‐209              Memo re contact with Source          b7D‐4,‐5       of this specific source.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                Memo re contact with source; info                   record would harm the individual
  Evidentiary/Investigative                                           provided on specific investigative   b6/b7C‐1       source by revealing source
         Materials                 Memo                               matter                               b7D‐4,‐5,‐6    activities and focus.
                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                Memo re contact with source; info                   record would harm the individual
  Evidentiary/Investigative                                           provided on specific investigative   b6/b7C‐1       source by revealing source
         Materials                 Memo                               matter                               b7D‐4,‐5,‐6    activities and focus.
                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                           Memo re contact with source; source‐ b6/b7C‐1,‐6    source by revealing source
         Materials                 Memo                               related documents enclosed           b7D‐4,‐5,‐6    activities and focus.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                                                                b6/b7C‐6       source by revealing source
         Materials            Memo Enclosure                          Enclosure to Memo re source          b7D‐6          activities and focus.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                                                                b6/b7C‐5,‐6    source by revealing source
         Materials            Memo Enclosure                          Enclosure to Memo re source          b7D‐6          activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info               DESCRIPTION                   APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                           General investigative record.
                                                                                                          b3‐3             Disclosure of any details of this
      Administrative &                                              Contact with non‐govt law             b6/b7C‐1,‐2,‐3   record would harm the individual
  Evidentiary/Investigative                                         enforcement re source; source's       b7D‐4,‐5,‐6      source by revealing source
         Materials                Memo                              status                                b7E‐14           activities and focus.
                                                                                                                           General investigative record.
                                                                                                          b3‐3             Disclosure of any details of this
                                                                    Airtel re contact with non‐govt law   b6/b7C‐2         record would harm the individual
  Evidentiary/Investigative                                         enforcement re source and             b7D‐4,‐5,‐6      source by revealing source
         Materials              Field Airtel    FD‐36               background/handling of source         b7E‐14           activities and focus.
                                                                                                                           General investigative record.
                                                                                                          b3‐3             Disclosure of any details of this
      Administrative &                                              Airtel re contact with non‐govt law   b6/b7C‐2         record would harm the individual
  Evidentiary/Investigative                                         enforcement re source and             b7D‐4,‐5,‐6      source by revealing source
         Materials                Memo                              background/handling of source         b7E‐14           activities and focus.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                    Routing Slip re source; handling of   b6/b7C‐1,‐5,‐6   source by revealing source
  Administrative Materials      Routing Slip     0‐7                source                                b7D‐5,‐6         activities and focus.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                    Routing Slip re source; handling of   b6/b7C‐1,‐5,‐6   source by revealing source
  Administrative Materials      Routing Slip     0‐7                source                                b7D‐5,‐6         activities and focus.

                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                    Memo regarding source; handling of b6/b7C‐1,‐2,‐6      source by revealing source
  Administrative Materials        Memo                              source                             b7D‐4,‐5,‐6         activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                          EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE    Form #   OGA Info              DESCRIPTION                APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                        General administrative record.
                                                                                                       b3‐3             Disclosure of any details of this
                                                                                                       b6/b7C‐1,‐2      record would harm the individual
                                                                     Memo regarding source background; b7D‐4,‐5,‐6      source by revealing source
  Administrative Materials         Memo                              polygraph                         b7E‐14           activities and focus.

                                                                                                                        General administrative record.
                                                                                                                        Disclosure of any details of this
                                                                                                       b6/b7C‐1         record would harm the individual
                                                                     Memo regarding source background; b7D‐4,‐5,‐6      source by revealing source
  Administrative Materials         Memo                              polygraph                         b7E‐14           activities and focus.

                                                                                                                        General administrative record.
                                                                                                                        Disclosure of any details of this
                                                                                                       b6/b7C‐1,‐5      record would harm the individual
                                                                     Memo regarding source background; b7D‐5,‐6         source by revealing source
  Administrative Materials         Memo                              polygraph documents enclosed      b7E‐14           activities and focus.

                                                                                                                        General administrative record.
                                                                                                                        Disclosure of any details of this
                                                                                                       b6/b7C‐1,‐2,‐5   record would harm the individual
                                                                                                       b7D‐5,‐6         source by revealing source
  Administrative Materials    Polygraph Report   FD‐498              Enclosures to Memo                b7E‐14           activities and focus.
                                                                                                                        General administrative record.
                                                                                                                        Disclosure of any details of this
                                 Polygraph                                                             b6/b7C‐1,‐5      record would harm the individual
                                Examination                                                            b7D‐6            source by revealing source
  Administrative Materials       Worksheet       FD‐497              Enclosures to Memo                b7E‐14           activities and focus.
                                                                                                                        General investigative record.
                                                                                                                        Disclosure of any details of this
                                                                                                                        record would harm the individual
  Evidentiary/Investigative                                          Source Reporting on specific      b6/b7C‐1,‐2,‐6   source by revealing source
         Materials               Field Airtel    FD‐36               investigative matter              b7D‐4,‐5,‐6      activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info               DESCRIPTION                   APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                         Memo enclosing source provided        b6/b7C‐1         source by revealing source
         Materials                Memo                              documents                             b7D‐4,‐5,‐6      activities and focus.
                                                                                                                           Document provided by a source.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                         Source provided documents             b6/b7C‐4,‐5,‐6   source by revealing source
         Materials            Source Derived                        (enclosure to memo)                   b7D‐6            activities and focus.

                                                                                                                           Document provided by a source.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                         Source provided documents             b6/b7C‐4,‐5,‐6   source by revealing source
         Materials            Source Derived                        (enclosure to memo)                   b7D‐6            activities and focus.
                                                                                                                           Document provided by a source.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                         Source provided documents                              source by revealing source
         Materials            Source Derived                        (enclosure to memo)                   b6/b7C‐4         activities and focus.
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                              Correspondence received from non‐                      record would harm the individual
  Evidentiary/Investigative                                         FBI law enforcement regarding     b6/b7C‐1,‐5          source by revealing source
         Materials              Routing Slip     0‐7                source                            b7D‐6                activities and focus.
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                                                               b6/b7C‐1         source by revealing source
         Materials              Cover Sheet     FD‐350              Enclosure to routing slip re source   b7D‐5            activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                            EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION                   APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                              Airtel documenting opening of a                       record would harm the individual
  Evidentiary/Investigative                                         specific investigation based on      b6/b7C‐2,‐6      source by revealing source
         Materials                 Airtel                           source provided information          b7D‐4,‐5,‐6      activities and focus.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                         Memo re sources activities/handling b6/b7C‐1,‐4,‐5    source by revealing source
         Materials                Memo                              of source                           b7D‐4,‐5,‐6       activities and focus.
                                                                                                                          General investigative record.
                                                                                                        b3‐1              Disclosure of any details of this
      Administrative &                                                                                  b6/b7C‐1,‐2,‐4,   record would harm the individual
  Evidentiary/Investigative                                         Memo re sources activities/handling ‐5,‐6             source by revealing source
         Materials                Memo                              of source                           b7D‐4,‐5,‐6       activities and focus.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                         Source provided info on specific     b6/b7C‐6         source by revealing source
         Materials                 Airtel                           investigative matter                 b7D‐4,‐5,‐6      activities and focus.
                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                    Reassignment of agent for handling   b6/b7C‐1         source by revealing source
  Administrative Materials        Memo                              of source                            b7D‐4,‐5         activities and focus.
                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                                                              b6/b7C‐1         source by revealing source
         Materials              Field Airtel    FD‐36               Document enclosed with Memo          b7D‐5            activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                    EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE       Form #   OGA Info               DESCRIPTION                      APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                                  General investigative record.
                                                                                                                                  Disclosure of any details of this
      Administrative &                                                                                                            record would harm the individual
  Evidentiary/Investigative                                             Memo enclosing info concerning                            source by revealing source
         Materials                  Memo                                source                                                    activities and focus.

                                                                                                                                  General investigative record.
                                                                                                                                  Disclosure of any details of this
      Administrative &                                                                                                            record would harm the individual
  Evidentiary/Investigative                                                                                      b6/b7C‐5         source by revealing source
         Materials                  Memo                                Document enclosed with Memo              b7D‐4,‐6         activities and focus.
                                                                                                                                  General administrative record.
                                                                                                                                  Disclosure of any details of this
                                                                                                                                  record would harm the individual
                                                                        reassignment of agent to handling of b6/b7C‐1             source by revealing source
  Administrative Materials          Memo                                source                               b7D‐4,‐5             activities and focus.

                                                                                                                                  General investigative record.
                                                                                                                                  Disclosure of any details of this
      Administrative &                                                  Memo discussing accomplishments                           record would harm the individual
  Evidentiary/Investigative                                             of source for a specific investigative   b6/b7C‐1,‐2      source by revealing source
         Materials                  Memo                                matter                                   b7D‐4,‐5,‐6      activities and focus.
                                                                                                                                  General investigative record.
                                                                                                                                  Disclosure of any details of this
      Administrative &                                                                                           b6/b7C‐1,‐5,‐6   record would harm the individual
  Evidentiary/Investigative                                             Indices results for background/          b7D‐5,‐6         source by revealing source
         Materials            Indices Search Slip   FD‐160              handling of source                       b7E‐13           activities and focus.
                                                                                                                                  General investigative record.
                                                                                                                                  Disclosure of any details of this
      Administrative &                                                                                                            record would harm the individual
  Evidentiary/Investigative                                             Routing Slip regarding background/       b6/b7C‐1,‐5,‐6   source by revealing source
         Materials               Routing Slip        0‐7                handling of source                       b7D‐6            activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                           EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION                  APPLIED        SEGREGABILITY HARM ANALYSIS

                                                                                                                            General investigative record.
                                                                                                        b3‐1                Disclosure of any details of this
      Administrative &                                                                                  b6/b7C‐1,‐2,‐4,‐5,‐ record would harm the individual
  Evidentiary/Investigative                                         Memo re source reporting and info   6             b7D‐ source by revealing source
         Materials                Memo                              provided by source                  4,‐5,‐6             activities and focus.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                         Memo re source contact; documents b6/b7C‐1             source by revealing source
         Materials                Memo                              provided by source                b7D‐4,‐5,‐6          activities and focus.
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                         Airtel re contact with source and   b6/b7C‐1,‐5,‐6     source by revealing source
         Materials              Field Airtel    FD‐36               documents provided by source        b7D‐5,‐6           activities and focus.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                         Airtel re source contact; Documents b6/b7C‐1,‐5,‐6     source by revealing source
         Materials                 Airtel                           provided by source                  b7D‐5,‐6           activities and focus.
                                                                                                                            General investigative record.
                                                                                                        b3‐1                Disclosure of any details of this
      Administrative &                                                                                  b6/b7C‐1,‐2,‐3,‐5,‐ record would harm the individual
  Evidentiary/Investigative                                                                             6             b7D‐ source by revealing source
         Materials            Memo Enclosure                        Enclosures provided by source       6                   activities and focus.
                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                                                                           source by revealing source
  Administrative Materials        Memo                              Memo re handling/closing of source b7D‐4,‐5,‐6         activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                           EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION                  APPLIED       SEGREGABILITY HARM ANALYSIS
                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                    Teletype re handling/closing of     b6/b7C‐1          source by revealing source
  Administrative Materials      Field Airtel    FD‐36               source                              b7D‐4,‐5,‐6       activities and focus.

                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                    Memo re handling/relationship of    b6/b7C‐1,‐6       source by revealing source
  Administrative Materials        Memo                              source                              b7D‐4,‐5          activities and focus.
                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                                                       b6/b7C‐1           source by revealing source
  Administrative Materials        Memo                              Memo re handling/closing of source b7D‐4,‐5,‐6        activities and focus.
                                                                                                                          General administrative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
                                                                                                       b6/b7C‐1           source by revealing source
  Administrative Materials        Memo                              Memo re handling/closing of source b7D‐4,‐5,‐6        activities and focus.
                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                 b3‐3              record would harm the individual
  Evidentiary/Investigative                                         Summary of information provided by b6/b7C‐1,‐2,‐5    source by revealing source
         Materials                Memo                              source                             b7D‐6             activities and focus.
                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                 b3‐1              record would harm the individual
  Evidentiary/Investigative                                         Summary of source reporting and    b6/b7C‐1,‐2,‐5,‐6 source by revealing source
         Materials                Memo                              timeline as source                 b7D‐5,‐6          activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                                EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE       Form #   OGA Info              DESCRIPTION                   APPLIED       SEGREGABILITY HARM ANALYSIS
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                       b3‐1              record would harm the individual
  Evidentiary/Investigative                                             Memo re status of source;            b6/b7C‐1,‐2,‐5    source by revealing source
         Materials                  Airtel                              background on source                 b7D‐4,‐5,‐6       activities and focus.

                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                       b6/b7C‐5          record would harm the individual
  Evidentiary/Investigative                                             Indices results for background/      b7D‐6             source by revealing source
         Materials            Indices Search Slip                       handling of source                   b7E‐13            activities and focus.

                                                                                                                               General administrative record.
                                                                                                                               Disclosure of any details of this
                                                                                                                               record would harm the individual
                                                                                                             b6/b7C‐1,‐5       source by revealing source
  Administrative Materials          Airtel                              handling of source                   b7D‐4,‐5,‐6       activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                             handling of source; info provided by b6/b7C‐1,‐2       source by revealing source
         Materials                Field Airtel      FD‐36               source                               b7D‐4,‐5,‐6       activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                             handling of source; info provided by b6/b7C‐1,‐2       source by revealing source
         Materials                  Memo                                source                               b7D‐4,‐5,‐6       activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                             handling of source; info provided by b6/b7C‐1,‐2,‐5,‐6 source by revealing source
         Materials                  Memo                                source                               b7D‐4,‐5,‐6       activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE       Form #   OGA Info              DESCRIPTION                  APPLIED        SEGREGABILITY HARM ANALYSIS

                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                                                                 b6/b7C‐1,‐5        source by revealing source
         Materials                  Memo                                handling of source                  b7D‐4,‐5,‐6        activities and focus.
                                                                                                                                General investigative record.
                                                                                                            b3‐1                Disclosure of any details of this
      Administrative &                                                                                      b6/b7C‐1,‐2,‐4,‐5,‐ record would harm the individual
  Evidentiary/Investigative                                                                                 6            b7D‐ source by revealing source
         Materials                  Memo                                handling of source                  5,‐6                activities and focus.

                                                                                                                              General investigative record.
                                                                                                                              Disclosure of any details of this
      Administrative &                                                                                      b3‐1              record would harm the individual
  Evidentiary/Investigative                                                                                 b6/b7C‐1,‐2,‐4,‐5 source by revealing source
         Materials                  Letter                      X       Info on source; contains OGA info   b7D‐‐5,‐6         activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                      b6/b7C‐5           record would harm the individual
  Evidentiary/Investigative                                             Indices results for background/     b7D‐6              source by revealing source
         Materials            Indices Search Slip                       handling of source                  b7E‐13             activities and focus.
                                                                                                                               General investigative record.
                                                                                                                               Disclosure of any details of this
      Administrative &                                                                                                         record would harm the individual
  Evidentiary/Investigative                                                                                 b6/b7C‐1,‐4,‐5     source by revealing source
         Materials                  Airtel                              Communication regarding source      b7D‐5,‐6           activities and focus.

                                                                                                                                General investigative record.
                                                                                                                                Disclosure of any details of this
      Administrative &                                                                                      b6/b7C‐1,‐2,‐4,‐5,‐ record would harm the individual
  Evidentiary/Investigative                                                                                 6           b7D‐ source by revealing source
         Materials                  Memo                                Communication regarding source      4,‐5,‐6             activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE    Form #   OGA Info             DESCRIPTION                    APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                                                               b6/b7C‐1,‐5      source by revealing source
         Materials                 Memo                              Communication regarding source       b7D‐4,‐5,‐6      activities and focus.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                                                                                source by revealing source
         Materials            Memo Enclosure                         Enclosure to Memo regarding source                    activities and focus.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                                                               b6/b7C‐1,‐2,‐4   source by revealing source
         Materials                 Memo                              Communication regarding source       b7D‐4,‐5         activities and focus.
                                                                                                                           General administrative record.
                                                                                                                           Disclosure of any details of this
                                                                                                                           record would harm the individual
                                                                     Communication regarding source                        source by revealing source
  Administrative Materials    Admin Cover Page                       symbol no informant                  b7D‐5            activities and focus.

                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                                                               b6/b7C‐1,‐2,‐5   source by revealing source
         Materials                 Memo                              Communication regarding source       b7D‐4,‐5,‐6      activities and focus.
                                                                                                                           General investigative record.
                                                                                                                           Disclosure of any details of this
      Administrative &                                                                                                     record would harm the individual
  Evidentiary/Investigative                                                                               b6/b7C‐1,‐5,‐6   source by revealing source
         Materials                 Memo                              Communication regarding source       b7D‐4,‐5,‐6      activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info             DESCRIPTION                APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
      Administrative &                                                                                              record would harm the individual
  Evidentiary/Investigative                                                                          b6/b7C‐1       source by revealing source
         Materials                Memo                              Communication regarding source   b7D‐4,‐5       activities and focus.

                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
      Administrative &                                                                                              record would harm the individual
  Evidentiary/Investigative                                                                          b6/b7C‐1       source by revealing source
         Materials                Memo                              Communication regarding source   b7D‐4,‐5       activities and focus.

                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                                                          b6/b7C‐1       source by revealing source
         Materials              Field Airtel    FD‐36               Communication regarding source   b7D‐4,‐5       activities and focus.
                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
      Administrative &                                                                                              record would harm the individual
  Evidentiary/Investigative                                                                          b6/b7C‐1       source by revealing source
         Materials                Memo                              Communication regarding source   b7D‐4,‐5       activities and focus.
                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
      Administrative &                                                                                              record would harm the individual
  Evidentiary/Investigative                                                                          b6/b7C‐1       source by revealing source
         Materials                Memo                              Communication regarding source   b7D‐4,‐5       activities and focus.

                                                                                                                    General investigative record.
                                                                                                                    Disclosure of any details of this
                                                                                                                    record would harm the individual
  Evidentiary/Investigative                                                                          b6/b7C‐1       source by revealing source
         Materials              Field Airtel    FD‐36               Communication regarding source   b7D‐4,‐5       activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                        EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info             DESCRIPTION                APPLIED      SEGREGABILITY HARM ANALYSIS

                                                                                                                      General investigative record.
                                                                                                                      Disclosure of any details of this
                                                                                                                      record would harm the individual
  Evidentiary/Investigative                                                                          b6/b7C‐1         source by revealing source
         Materials              Field Airtel    FD‐36               Communication regarding source   b7D‐4,‐5         activities and focus.

                                                                                                                      General investigative record.
                                                                                                                      Disclosure of any details of this
      Administrative &                                                                                                record would harm the individual
  Evidentiary/Investigative                                                                          b6/b7C‐1,‐5,‐6   source by revealing source
         Materials                Memo                              Communication regarding source   b7D‐4,‐5,‐6      activities and focus.
                                                                                                                      General investigative record.
                                                                                                                      Disclosure of any details of this
      Administrative &                                                                                                record would harm the individual
  Evidentiary/Investigative                                                                                           source by revealing source
         Materials            Memo Enclosure                        Enclosure to memo re Source      b7D‐6            activities and focus.
                                                                                                                      General investigative record.
                                                                                                                      Disclosure of any details of this
      Administrative &                                                                                                record would harm the individual
  Evidentiary/Investigative                                                                                           source by revealing source
         Materials            Memo Enclosure                        Enclosure to memo re Source      b7D‐6            activities and focus.
                                                                                                                      General investigative record.
                                                                                                                      Disclosure of any details of this
      Administrative &                                                                                                record would harm the individual
  Evidentiary/Investigative                                                                                           source by revealing source
         Materials            Memo Enclosure                        Enclosure to memo re Source      b7D‐6            activities and focus.
                                                                                                                      General investigative record.
                                                                                                                      Disclosure of any details of this
      Administrative &                                                                                                record would harm the individual
  Evidentiary/Investigative                                                                                           source by revealing source
         Materials            Memo Enclosure                        Enclosure to memo re Source      b7D‐6            activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                         EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info             DESCRIPTION                 APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                     General investigative record.
                                                                                                                     Disclosure of any details of this
      Administrative &                                                                                               record would harm the individual
  Evidentiary/Investigative                                                                           b6/b7C‐1,‐5    source by revealing source
         Materials                Memo                              Communication regarding source    b7D‐4,‐5,‐6    activities and focus.
                                                                                                                     General investigative record.
                                                                                                                     Disclosure of any details of this
      Administrative &                                                                                               record would harm the individual
  Evidentiary/Investigative                                         Communication regarding source    b6/b7C‐1,‐5    source by revealing source
         Materials                Memo                              with enclosure                    b7D‐4,‐5,‐6    activities and focus.
                                                                                                                     General investigative record.
                                                                                                                     Disclosure of any details of this
      Administrative &                                                                                               record would harm the individual
  Evidentiary/Investigative                                                                                          source by revealing source
         Materials            Memo Enclosure                        Enclosure to Memo regarding source b7D‐6         activities and focus.
                                                                                                                     General investigative record.
                                                                                                                     Disclosure of any details of this
      Administrative &                                                                                               record would harm the individual
  Evidentiary/Investigative                                                                                          source by revealing source
         Materials            Memo Enclosure                        Enclosure to Memo regarding source b7D‐6         activities and focus.
                                                                                                                     General investigative record.
                                                                                                                     Disclosure of any details of this
      Administrative &                                                                                               record would harm the individual
  Evidentiary/Investigative                                                                                          source by revealing source
         Materials            Memo Enclosure                        Enclosure to Memo regarding source b7D‐6         activities and focus.
                                                                                                                     General investigative record.
                                                                                                                     Disclosure of any details of this
      Administrative &                                                                                               record would harm the individual
  Evidentiary/Investigative                                                                           b6/b7C‐1,‐6    source by revealing source
         Materials                Memo                              Communication regarding source    b7D‐4,‐5       activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #    OGA Info              DESCRIPTION                  APPLIED       SEGREGABILITY HARM ANALYSIS
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                                  source by revealing source
         Materials             Memo Enclosure                          Enclosure to Memo regarding source b7D‐6              activities and focus.
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                b6/b7C‐1,‐2,‐6    source by revealing source
         Materials                 Memo                                Communication regarding source      b7D‐4,‐5,‐6       activities and focus.
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                                                                b6/b7C‐1,‐2,‐3,‐6 source by revealing source
         Materials                 Memo                                Communication regarding source      b7D‐4,‐5,‐6       activities and focus.

                                                                                                                             General investigative record.
                                                                       1A Envelope Log describing contact                    Disclosure of any details of this
      Administrative &                                                 with source symbol numbered                           record would harm the individual
  Evidentiary/Investigative                                            informant; description of documents b6/b7C‐2,‐5       source by revealing source
         Materials            1A Envelope/Log     FD‐340a              provided by source                  b7D‐4,‐5,‐6       activities and focus.

                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                 1A Envelope log recording contact                     record would harm the individual
  Evidentiary/Investigative                                            with source symbol numbered         b6/b7C‐1          source by revealing source
         Materials             1A Envelope Log    FD‐340a              informant                           b7D‐4,‐5          activities and focus.

                                                                       1A Envelope enclosure ‐ agent's                       General investigative record.
                                                                       handwritten notes of contact with                     Disclosure of any details of this
      Administrative &          1A Envelope                            source symbol numbered informant;                     record would harm the individual
  Evidentiary/Investigative      Enclosure/                            source reporting/information      b6/b7C‐2            source by revealing source
         Materials            Handwritten Notes                        provided by source                b7D‐4,‐5,‐6         activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                             EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION                    APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
                                                                                                        b6/b7C‐1,‐5      record would harm the individual
                                                                    1A Envelope enclosure re consent to b7D‐5,‐6         source by revealing source
  Administrative Materials     1A Enclosure     FD‐328              interview with polygraph by source b7E‐14            activities and focus.
                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                  b6/b7C‐1,‐5      record would harm the individual
  Evidentiary/Investigative                                         1A Envelope describing contact with b7D‐5,‐6         source by revealing source
         Materials             1A Envelope      FD‐340              and handling of source (polygraph) b7E‐14            activities and focus.

                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                  b6/b7C‐1,‐5      record would harm the individual
  Evidentiary/Investigative                                         1A Envelope describing polygraph of b7D‐5,‐6         source by revealing source
         Materials             1A Envelope      FD‐340              source                              b7E‐14           activities and focus.

                                                                                                                         General administrative record.
                                                                                                                         Disclosure of any details of this
                                                                                                          b6/b7C‐5       record would harm the individual
                                                                    Polygraph Charts of source (encl 1A   b7D‐6          source by revealing source
  Administrative Materials      Polygraph                           env)                                  b7E‐14         activities and focus.
                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                                   record would harm the individual
  Evidentiary/Investigative                                         1A Envelope describing documents re b6/b7C‐1,‐6      source by revealing source
         Materials              1A Envelope     FD‐340              source                              b7D‐4,‐5         activities and focus.
                                                                                                                         General investigative record.
                                                                                                                         Disclosure of any details of this
      Administrative &                                                                                                   record would harm the individual
  Evidentiary/Investigative                                         1A Envelope enclosure of document b6/b7C‐4,‐5,‐6     source by revealing source
         Materials             1A Enclosure                         re source                         b7D‐5,‐6           activities and focus.
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CATEGORY INFORMATION:(1)
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 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                              EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                   APPLIED    SEGREGABILITY HARM ANALYSIS

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
                                                                                                        b3‐1              record would harm the individual
  Evidentiary/Investigative                                           1A Envelope enclosure of document b6/b7C‐5,‐6       source by revealing source
         Materials              1A Enclosure                          re source                         b7D‐6             activities and focus.
                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
                                                                                                                          record would harm the individual
  Evidentiary/Investigative                                           1A Envelope enclosure of document b6/b7C‐5,‐6       source by revealing source
         Materials              1A Enclosure                          re source                         b7D‐5,‐6          activities and focus.

                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                           1A Envelope recording interview of   b6/b7C‐1       source by revealing source
         Materials              1A Envelope       FD‐340              Source                               b7D‐5          activities and focus.
                                                                      1A Envelope enclosure ‐ agent's                     General investigative record.
                                                                      handwritten notes of contact with                   Disclosure of any details of this
      Administrative &          1A Envelope                           source ; source                                     record would harm the individual
  Evidentiary/Investigative      Enclosure/                           reporting/information provided by    b6/b7C‐2       source by revealing source
         Materials            Handwritten Notes                       source                               b7D‐5,‐6       activities and focus.
                                                                      1A Envelope enclosure ‐ agent's                     General investigative record.
                                                                      handwritten notes of contact with                   Disclosure of any details of this
      Administrative &          1A Envelope                           source; enclosure of documents                      record would harm the individual
  Evidentiary/Investigative      Enclosure/                           provided by source symbol            b6/b7C‐2       source by revealing source
         Materials            Handwritten Notes                       numbered informant                   b7D‐5,‐6       activities and focus.
                                                                                                                          General investigative record.
                                                                                                                          Disclosure of any details of this
      Administrative &                                                                                                    record would harm the individual
  Evidentiary/Investigative                                           1A Envelope describing contact w/ b6/b7C‐1          source by revealing source
         Materials              1A Envelope       FD‐340              source symbol numbered informant b7D‐4,‐5           activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                           EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info             DESCRIPTION                   APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                              1A Envelope describing                             record would harm the individual
  Evidentiary/Investigative                                         documents/information provided by b6/b7C‐1         source by revealing source
         Materials             1A Envelope      FD‐340              source symbol numbered informant b7D‐4,‐5,‐6       activities and focus.
                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                              1A Envelope enclosure ‐ documents                  record would harm the individual
  Evidentiary/Investigative                                         provided by source symbol                          source by revealing source
         Materials             1A Enclosure                         numbered informant                  b7D‐5,‐6       activities and focus.
                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                                                                                 record would harm the individual
  Evidentiary/Investigative                                         1A Envelope describing document re b6/b7C‐1        source by revealing source
         Materials             1A Envelope      FD‐340              source symbol numbered informant b7D‐4,‐5,‐6       activities and focus.
                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
                                                                    1A Envelope enclosure of documents                 record would harm the individual
  Evidentiary/Investigative                                         re source symbol numbered          b6/b7C‐5,‐6     source by revealing source
         Materials             1A Enclosure                         informant                          b7D‐5,‐6        activities and focus.
                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                              1A Envelope describing document                    record would harm the individual
  Evidentiary/Investigative                                         provided by source symbol           b6/b7C‐1       source by revealing source
         Materials             1A Envelope      FD‐340              numbered informant                  b7D‐4,‐5,‐6    activities and focus.
                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                              1A Envelope enclosure of document                  record would harm the individual
  Evidentiary/Investigative                                         provided by source symbol                          source by revealing source
         Materials             1A Enclosure                         numbered informant                b7D‐5,‐6         activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                           EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE   Form #   OGA Info              DESCRIPTION                  APPLIED    SEGREGABILITY HARM ANALYSIS
                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                              1A Envelope describing document                    record would harm the individual
  Evidentiary/Investigative                                         provided by source symbol           b6/b7C‐1       source by revealing source
         Materials             1A Envelope      FD‐340              numbered informant                  b7D‐4,‐5,‐6    activities and focus.

                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                              1A Envelope enclosure of documents                 record would harm the individual
  Evidentiary/Investigative                                         re source symbol numbered                          source by revealing source
         Materials             1A Enclosure                         informant                          b7D‐5,‐6        activities and focus.

                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                                                                                 record would harm the individual
  Evidentiary/Investigative                                         1A Envelope describing documents re b6/b7C‐1       source by revealing source
         Materials             1A Envelope      FD‐340              source                              b7D‐4,‐5,‐6    activities and focus.

                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                                                                                 record would harm the individual
  Evidentiary/Investigative                                         1A Envelope enclosure of documents b6/b7C‐5,‐6     source by revealing source
         Materials             1A Enclosure                         re source                          b7D‐5,‐6        activities and focus.
                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                                                                                 record would harm the individual
  Evidentiary/Investigative                                          1A Envelope describing documents   b6/b7C‐1,‐6    source by revealing source
         Materials             1A Envelope      FD‐340              re source                           b7D‐4,‐5,‐6    activities and focus.
                                                                                                                       General investigative record.
                                                                                                                       Disclosure of any details of this
      Administrative &                                                                                                 record would harm the individual
  Evidentiary/Investigative                                         1A Envelope enclosure of documents b6/b7C‐5,‐6     source by revealing source
         Materials             1A Enclosure                         re source                          b7D‐5,‐6        activities and focus.
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CATEGORY INFORMATION:(1)
   Evidentiary/Investigative
 Materials (2) Administrative
Materials (3)Public‐Source/Non‐                                                                               EXEMPTIONS
 Investigative Harm Material    DOCUMENT TYPE     Form #   OGA Info              DESCRIPTION                    APPLIED      SEGREGABILITY HARM ANALYSIS
                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &                                                                                                       record would harm the individual
  Evidentiary/Investigative                                           1A Envelope describing interview of   b6/b7C‐1         source by revealing source
         Materials              1A Envelope       FD‐340              source                                b7D‐5            activities and focus.

                                                                                                                             General investigative record.
                                                                                                                             Disclosure of any details of this
      Administrative &          1A Envelope                           1A Envelope enclosure ‐ agent's                        record would harm the individual
  Evidentiary/Investigative      Enclosure/                           handwritten notes of interview of     b6/b7C‐2,‐5,‐6   source by revealing source
         Materials            Handwritten Notes                       source                                b7D‐5,‐6         activities and focus.
